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                      EXHIBIT “A”

                                                               EXHIBIT A - 1
           Case 2:22-cv-03274-RSWL-AFM                             Document 1-2 Filed 05/13/22 Page 2 of 51 Page ID #:15
                y Sup_epri Court of California, County it4Los peIes on 04/12/2022208:05vPiZgrri R. Carter, Executive Officer/Clerk of Court, by Y. Tarasyuk,Deputy CI
Electronically FILE


                                      Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Theresa Traber




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                      RENEE LOTENERO
               8      and STEVE SIEGRIST
               9                                         SUPERIOR COURT OF CALIFORNIA

              10                                                COUNTY OF LOS ANGELES

              11      RENEE LOTENERO                                                        Case No.: 2                     CA." -1 2:388
                      and STEVE SIEGRIST,
              12                                                                            Unlimited Jurisdiction
              13                         Plaintiffs,                                        COMPLAINT
              14               V S.
                                                                                              1. VIOLATION OF SONG-BEVERLY
              15                                                                                 ACT - BREACH OF EXPRESS
                      BMW OF NORTH AMERICA,LLC,a                                                 WARRANTY
                      Delaware Limited Liability Company, and
              16                                                                              2. VIOLATION OF SONG-BEVERLY
                      DOES 1 through 10, inclusive,
                                                                                                 ACT - BREACH OF IMPLIED
              17                                                                                 WARRANTY
                                         Defendant.
              18
                                                                                            Assignedfor All Purposes to the
             19                                                                             Honorable

             20                                                                             Department
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                                                                        - 1-
                                                            LOTENERO v. BMW COMPLAINT




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             41.                   I
                                   .




  1                Plaintiffs, RENEE LOTENERO and          STEVE SIEGRIST, allege as follows against

  2   Defendant, BMW OF NORTH AMERICA, LLC, a Delaware Limited Liability Company,

  3 ("BMW"); and DOES I through 10 inclusive, on information and belief, formed after an inquiry

  4   reasonable under the circumstances:

  5                                        DEMAND FOR JURY TRIAL

  6          1 . Plaintiffs, RENEE LOTENERO and STEVE SIEGRIST, hereby demand trial by jury in

  7    this action.

  8                                         GENERAL ALLEGATIONS

  9         2. Plaintiffs, RENEE LOTENERO and STEVE SIEGRIST, are individuals residing in the

 10   City of Los Angeles, County of Los Angeles, and State of California.

 11         3. Defendant BMW is and was a Delaware Limited Liability Company registered to do

 12   business in the State of California with its registered office in the City of Los Angeles, County of

 13   Los Angeles, and State of California.

 14         4. These causes of action arise out of the warranty obligations of BMW in connection with a

 15   motor vehicle for which BMW issued a written warranty.

 16         5. Plaintiffs do not know the true names and capacities, whether corporate, partnership,

 17   associate, individual or otherwise of Defendant issued herein as Does 1 through 10, inclusive,

 18   under the provisions of section 474 of the California Code of Civil Procedure. Defendant Does 1

 19   through 10, inclusive, are in some manner responsible for the acts, occurrences and transactions

 20   set forth herein, and are legally liable to Plaintiffs. Plaintiffs will seek leave to amend this

 21   Complaint to set forth the true names and capacities of the fictitiously named Defendant, together

 22   with appropriate charging allegations, when ascertained.

 23         6. All acts of corporate employees as alleged were authorized or ratified by an officer,

 24   director, or managing agent of the corporate employer.

 25         7. The warranty contract is attached and incorporated by its reference as Exhibit I.

 26         8.     Plaintiffs hereby revoke acceptance of the Subject Vehicle.

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                                        LOTENERO v. BMW COMPLAINT




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                  ,




  1         9.   Pursuant to the Song-Beverly Consumer Warranty Act (herein after the "Act") Civil Code

  2   sections 1790 et seq. the Subject Vehicle constitutes "consumer goods" used primarily for family

  3   or household purposes, and Plaintiffs have used the vehicle primarily for those purposes.
  4         10. Plaintiffs are a "buyer" of consumer goods under the Act.

  5         1 1. Defendant BMW is a "manufacturer" and/or "distributor" under the Act.

  6         12. Plaintiffs hereby demand trial by jury in this action.

  7                                       FIRST CAUSE OF ACTION

  8                    Violation of the Song-Beverly Act — Breach of Express Warranty

  9         13. Plaintiffs incorporate herein by reference each and every allegation contained in the

 10   preceding and succeeding paragraphs as though herein fully restated and re-alleged.

 11         14. On February 22, 2020, Plaintiffs entered into a warranty contract with BMW regarding a

 12   2017 BMW 13, VIN: WBY1Z8C30HV895047,("the Subject Vehicle"). The terms of the express

 13   warranty are described in full in Exhibit I.

 14         15. Defects and nonconformities to warranty manifested themselves within the applicable

 15   express warranty period, including but not limited to electrical.

 16         1 6. The nonconformities substantially impair the use, value and/or safety of the Subject

 17   Vehicle.

 18         1 7. Plaintiffs delivered the Subject Vehicle to an authorized BMW repair facility for repair of

 19   the nonconformities.

 20         1 8. Defendant was unable to conform the Subject Vehicle to the applicable express warranty

 21   after a reasonable number of repair attempts.

 22         19. Under the Song-Beverly Act, Defendant had an affirmative duty to promptly offer to

 23   repurchase or replace the Subject Vehicle at the time if failed to conform the Subject Vehicle to

 24   the terms of the express warranty after a reasonable number of repair attempts.

 25         20. Defendant BMW has failed to either promptly replace the Subject Vehicle or to promptly

 26   make restitution in accordance with the Song-Beverly Act.

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                                      LOTENERO v. BMW COMPLAINT




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  1       21. By failure of Defendant to conform the Subject Vehicle to the express warranty, or to

      promptly issue restitution pursuant to the Song Beverly Act, Defendant is in violation of the Song

  3   Beverly Act.

  4       22. Under the Act, Plaintiffs are entitled to reimbursement of the price paid for the vehicle

  5   less that amount directly attributable to use by the Plaintiffs prior to the first presentation to an

  6   authorized repair facility for a nonconformity.

  7       23. Plaintiffs are entitled to all incidental, consequential, and general damages resulting from

  8   Defendant's failure to comply with its obligations under the Song-Beverly Act.

  9       24. Plaintiffs are entitled under the Song-Beverly Act to recover as part of the judgment a sum

 10   equal to the aggregate amount of costs and expenses, including attorney's fees, reasonably incurred

 11   in connection with the commencement and prosecution of this action.

 12       25. Plaintiffs are entitled in addition to the amounts recovered, a civil penalty of up to two

 13   times the amount of actual damages for BMW's willful failure to comply with its responsibilities

 14   under the Act.

 15                                   SECOND CAUSE OF ACTION

 16                  Violation of the Song-Beverly Act — Breach of Implied Warranty

 17       26. Plaintiffs incorporate herein by reference each and every allegation contained in the

 18   preceding and succeeding paragraphs as though herein fully restated and re-alleged.

 19       27. BMW and its authorized dealership at which Plaintiffs purchased the Subject Vehicle had

 20   reason to know the purpose of the Subject Vehicle at the time of sale of the Subject Vehicle. The

 21   sale of the Subject Vehicle was accompanied by an implied warranty of fitness.

 22       28. The sale of the Subject Vehicle was accompanied by an implied warranty that the Subject

 23   Vehicle was merchantable pursuant to Civil Code section 1792.

 24       29. The Subject Vehicle was delivered to Plaintiffs with latent defects, including, but not

 25   limited to, electrical.

 26      30. The Subject Vehicle was not fit for the ordinary purpose for which such goods are used.

 27       31. The Subject Vehicle did not measure up to the promises or facts stated on the container or

 28   label.

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  1         32. The Subject Vehicle was not of the same quality as those generally acceptable in the trade.

  2         33. Plaintiffs justifiably revoked acceptance of the Subject Vehicle under Civil Code, section

  3    1 794;el seq. prior to the filing of this Complaint during a contact to BMW's customer service.

  4         34. Plaintiffs hereby revoke acceptance of the Subject Vehicle.

  5         35. Plaintiffs are entitled to replacement or reimbursement pursuant to Civil Code, section

  6    1 794, el seq.

  7         36. Plaintiffs are entitled to rescission of the contract pursuant to Civil Code, section 1794, et

  8   seq. and Commercial Code, section 2711.

  9         37. Plaintiffs are entitled to recover any "cover" damages under Commercial Code, sections

 10   271 1,2712, and Civil Code, section 1794, et seq.

 11         38.   Plaintiffs are entitled to recover all incidental and consequential damages pursuant to 1794

 12   el seq. and Commercial Code, sections 2711, 2712, and 2713 et seq.

 13                             PRAYER FOR RELIEF

 14         WHEREFORE, Plaintiffs Pray for judgment against Defendant, as follows:

 15         1. For general, special and actual damages according to proof at trial;

 16         2. For rescission of the purchase contract and restitution of all monies expended;

 17         3. For diminution in value;

 18         4. For incidental and consequential damages according to proof at trial;

 19         5. For civil penalty in the amount of two times Plaintiffs' actual damages;

 20         6. For prejudgment interest at the legal rate;

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  1       7. For revocation of acceptance of the Subject Vehicle;

  2       8. For reasonable attorney's fees and costs of suit; and

  3      9. For such other and further relief as the Court deems just and proper under . the

  4             circumstances.

  5

  6   Dated: April 12, 2022                                 KNIGHT LAW GROUP, LLP

  7

  8

  9

 10                                                         ROGER K1RNOS(SBN 283163)
                                                            M AITE C. COLON (SBN 322284)
 11                                                         Attorneys for Plaintiffs,
                                                            RENEE LOTENERO
 12
                                                            and STEVE SIEGRIST
 13
      Plaintiffs, RENEE LOTENERO and STEVE SIEGRIST, hereby demand trial byjury in
 14
      this action.
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            EXHIBIT 1
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                                                                           The Ultimate
                                                                          Driving Machine'
                                                                                   ;




NEW VEHICLE
LIMITED WARRANTY
2017 BMW 13 & 18

                                                               EXHIBIT A - 9
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 Owner/Driver Information:

 Name

 Address




 Owner/Driver Telephones:

 Business

 Home

 Model       BMW i3 & i8                                    Year 2017

 VIN

 Retail/In-Service Date

 Trim Code                                     Color Code

 Production Date

 License Plate Number

 BMW Center Telephone Numbers:

 Offices

 Services




                                                              EXHIBIT A - 10
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 2017 Model Year Vehicles
 BMW i3
 BMW i3 with Range Extender(REx)
 BMW i8

 Overview of BMW Limited Warranties
                         Months
 New Vehicle Warranty        48                 4 years/50,000 Miles

 Rust Perforation Warranty 144                                                   12 years/Unlimited Miles

 Federal Emission Warranty
 -All Emission Related Parts 24

 -Specific Control Devices    96                                       8 years 80,000 Miles

 California Emission
 Control Warranty*
 -All Emission Related Parts 36            3 years/50 000 Miles

 -Specific Control Devices    84                          7 years/70,000 Miles

 -SULEV (PZEV) Vehicles** 180                                              15 years/150,000 Miles

                                      10,000 20,000 30,000 40,000 50,000 60,000 70,000 8 ,000 150,000

 *The California Emissions Control System Limited Warranty applies to all 2017 U.S.-specification BMW
 vehicles registered in California, Connecticut, Delaware, Maine, Maryland, Massachusetts, New Jersey,
 New York, Oregon, Pennsylvania, Rhode Island, Vermont or Washington.
 **The California Emissions Control System Limited Warranty also applies to 2017 SULEV(PZEV) models
 registered in Delaware, Oregon, Pennsylvania and Washington. The SULEV(PZEV) models registered in
 California, Connecticut, Maine, Maryland, Massachusetts, New Jersey, New York, Rhode Island and
 Vermont have different emissions warranty coverage.

 The BMW limited warranties apply only to U.S.-specification BMW vehicles and cover eligible
 warranty repair or replacement work when the warranty service is performed at an authorized
 BMW center in the United States(including Puerto Rico),subject to all applicable exclusions
 and/or limitations.




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   New Vehicle Limited Warranty for                              Safety Belt Warranty — Kansas
   Passenger Cars and Light Trucks                               Safety belts are covered under the BMW New
   — 2017 BMW i3 and i8 Models                                   Vehicle Limited Warranty for defects in material
  (Valid Only in the U.S.A. including                            or workmanship for a period of 10 years,
  Puerto Rico)                                                   unlimited mileage from the date of purchase. In
                                                                 order to be eligible for this coverage,the vehicle
                                                                 must be a new car retailed in the State of Kansas
   Warrantor                                                     and the repair performed by an authorized BMW
   BMW of North America, LLC(BMW NA)warrants                     center in Kansas.
   during the Warranty Period the 2017 U.S.-
   specification BMW vehicles distributed by                     High-Voltage Lithium-Ion Battery
   BMW NA or sold through the BMW NA European
                                                                 Limited Warranty
   Delivery Program against defects in materials or
   workmanship to the first retail purchaser, and                BMW of North America, LLC(BMW NA)warrants
   each subsequent purchaser.                                    the high-voltage lithium-ion battery assembly
                                                                 against defects in materials or workmanship for a
   Warranty Begins                                               period of8 years/100,000 miles, whichever
   Coverage begins on the date of first retail sale or           occurs first.
   the date the vehicle is first placed into service as
   a sales demonstrator, Aftersales Mobility                     High-Voltage Lithium-Ion Battery
   Program(AMP)Vehicle or company vehicle,                       Capacity Coverage
   whichever is earlier.
                                                                 The high-voltage lithium-ion battery modules are
   Warranty Period                                               covered against excessive capacity loss for a
                                                                 period of 8 years/100,000 miles, whichever
   The warranty period is 48 months or                           occurs first. This coverage is in addition to the
   50,000 miles, whichever occurs first, except as               high-voltage lithium-ion battery's limited
   noted below.                                                  warranty for defects in materials or workmanship.
   Warranty Coverage                                             Due to its inherent technical design,the
                                                                 high-voltage lithium-ion battery's capacity will
   To obtain warranty service coverage,the vehicle               decrease over time and with use. If an authorized
   must be brought, upon discovery of a defect in
                                                                 BMW center's capacity check concludes that the
   material or workmanship,to the workshop of any
                                                                 net battery capacity is less than 70 percent of its
   authorized BMW center in the United States
  (including Puerto Rico) during normal business                 original nominal value when it was new,this level
   hours.                                                        of capacity loss is considered excessive.
  The authorized BMW center will, without charge for             During the High-Voltage Lithium-Ion Battery
  parts and labor(including diagnosis), either repair or         Capacity Coverage period, BMW NA will cover
  replace the defective part(s) using new or authorized          the necessary component repair or replacement
  remanufactured parts. The decision whether to                  to correct this excessive capacity loss when
  repair or replace said part(s) is solely the prerogative       performed by an authorized BMW center.
  of BMW NA. Parts for which replacements are made
  become the property of BMW NA. In all cases, a                 Battery performance and durability, including
  reasonable time must be allowed for warranty                   high-voltage lithium-ion batteries, is
  repairs to be completed after the vehicle is received          temperature-dependent. While battery capacity
  by the authorized BMW center.                                  increases in higher temperatures, colder
                                                                 temperatures will lower the battery's capacity.
  Warranty repairs do not constitute an extension                Extreme high and/or low temperatures may
  of the original limited warranty period for the                i mpact the battery's service life.
  vehicle or a part thereof.

                                                             2



                                                                                            EXHIBIT A - 14
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 Other Items                                              (gasoline engines only), lubricants, fluids, engine
                                                          tune-up parts, replacement of filters, coolant,
 Wheel alignment, balancing and wiper blade               and refrigerant.
 inserts are covered up to the first 2,000 miles on
 the vehicle.                                             Modification of the vehicle or installation of any
                                                          performance accessories or components
 Items which are subject to wear and tear or              attached to the vehicle which alters the original
 deterioration due to driving habits or                   engineering and/or operating specifications or
 conditions,such as brake pads/linings, brake             which results in damage to the other original
 discs, clutch disc, pressure plate,filters,              components, electrical interference, electrical
 upholstery,trim and chrome items, paint                  short, radio static, water leaks and wind noise.
 finish, drive belts, glass, and similar items,
 their coverage is specifically limited to                Tires are warranted by their respective
 defects in material or workmanship.                      manufacturer. See the Tire Warranty Statement
                                                          on page 21.
 Additionally, wood trim and leather upholstery
 have inherent variations in color and texture,           Driving over rough or damaged road surfaces,
 dependent upon being properly cleaned and                as well as debris, curbs and other obstacles
 maintained.These items may lighten or darken             can cause serious damage to wheels,tires
 due to age or exposure to sunlight;this is not a         and suspension parts.This is more likely to
 defect in materials or workmanship.                      occur with low-profile tires that provide less
 Battery performance and durability are                   cushioning between the wheel and the road.
 temperature-dependent. While battery capacity            Be careful to avoid road hazards and reduce
 increases in higher temperatures, colder                 your speed,especially if your vehicle is
 temperatures will lower the battery's capacity.          equipped with low-profile tires.
 Extreme high and/or low temperatures may                 Non-genuine BMW Parts — While you may elect
 impact the battery's service life.                       to use non-genuine BMW parts for maintenance
 What is not covered:                                     or repair services, BMW NA is not obligated to
                                                          pay for repairs of the non-genuine BMW parts or
 Remote control transmitter battery replacement.          for repairs of any damage resulting from the use
 Damage,including consequential, which results            of non-genuine parts.
 from negligence, misuse/improper operation of
                                                          This warranty shall be null and void for specific
 the vehicle, improper repair, lack of or improper
                                                          vehicle components that were previously
 maintenance, environmental influences,flood,
 accident or fire damage, road salt corrosion, or         replaced with used or salvaged automobile parts.
 the use of improper fuel as described in the             This warranty shall be null and void if the
 Owner's Manual or contaminated fuel.                     odometer has been replaced or altered and the
 Damage to the engine,transmission or any                 true mileage on the vehicle cannot be
 related component caused by improper shifting            determined, and/or the Vehicle Identification
 of the transmission.                                     Number(VIN) is altered and/or cannot be
                                                          determined.
 Damage to the paint finish due to stone chips,
 nicks, dents, acid rain, industrial fallout, other       This warranty shall be null and void if the vehicle
 environmental influences, and normal                     has been declared a total loss or sold for salvage
 deterioration, such as fading, discoloration, or         purposes, or if the vehicle has been used in any
 loss of luster, improper care/repair of "matte"          competitive event.
 paint finishes, as well as damage caused by lack
 of maintenance, excessive rubbing,the use of             General
 improper cleaners, polishes and/or waxes.
                                                          These warranties give you specific legal rights,
 Maintenance services and parts when replaced             and you may also have other rights which vary
 during maintenance such as spark plugs                   from state to state.

                                                      3



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   THE DURATION OF ANY IMPLIED                                   LIMITED TO THE DURATION OF THE
   WARRANTIES,INCLUDING THE IMPLIED                              EXPRESS WARRANTIES HEREIN.
   WARRANTY OF MERCHANTABILITY, IS
   LIMITED TO THE DURATION OF THE                                 BMW OF NORTH AMERICA, LLC(BMW NA)
   EXPRESS WARRANTIES HEREIN.                                     HEREBY EXCLUDES INCIDENTAL AND
                                                                  CONSEQUENTIAL DAMAGES,INCLUDING
   BMW NA HEREBY EXCLUDES INCIDENTAL                              LOSS OF TIME,INCONVENIENCE, OR LOSS
   AND CONSEQUENTIAL DAMAGES,                                     OF USE OF THE VEHICLE, FOR ANY BREACH
   I NCLUDING LOSS OF TIME,INCONVENIENCE,                        -OF ANY EXPRESS OR IMPLIED WARRANTY,
   OR LOSS OF USE OF THE VEHICLE, FOR ANY                         I NCLUDING THE IMPLIED WARRANTY OF
   BREACH OF ANY EXPRESS OR IMPLIED                               MERCHANTABILITY, APPLICABLE TO THIS
   WARRANTY,INCLUDING THE IMPLIED                                 PRODUCT.
   WARRANTY OF MERCHANTABILITY,                                  Some states do not allow limitations on how long
   APPLICABLE TO THIS PRODUCT.                                   an implied warranty lasts, or the exclusion or
   Some states do not allow limitations on how long              limitation of incidental or consequential
   an implied warranty lasts, or the exclusion or                damages,so the above limitations and
   limitation of incidental or consequential                     exclusions may not apply to you.
   damages,so the above limitations and                          This warranty gives you specific legal rights, and
   exclusions may not apply to you.                              you may also have other rights which vary from
                                                                 state to state. Any legal claim or action arising
   Limited Warranty— Rust                                        from any express or implied warranty contained
   Perforation 2017 Models                                       herein must be brought within 12 months of the
                                                                 date it arises.
   BMW of North America, LLC(BMW NA)warrants
   this original vehicle against defects in materials            What is not covered
   or workmanship which will result in rust
   perforation of the vehicle body for a period of               This warranty does not apply to damage,
   12 years unlimited mileage. Coverage begins on                including consequential, which results from
   the date of first retail sale or the date the vehicle         negligence, misuse/improper operation of the
   is first placed into service as a sales                       vehicle, improper repair, lack of or improper
   demonstrator, Aftersales Mobility Program (AMP)               maintenance, environmental influences,flood,
   Vehicle or company vehicle, whichever is earlier.             accident or fire damage and road salt corrosion.
   To obtain warranty service coverage,the vehicle               Non-genuine BMW Parts—While you may elect
   must be brought, upon discovery of any rust                   to use non-genuine BMW parts for repair
   perforation, to the workshop of any authorized BMW            services, BMW NA is not obligated to pay for
   center. The authorized BMW center will, without               repairs of the non-genuine BMW parts or for
   charge for parts or labor, either repair or replace the       repairs of any damage resulting from the use of
   defective part(s). The decision whether to repair or          non-genuine parts.
   replace said part(s) is solely the prerogative of
   BMW NA. Parts for which replacements are made                 This warranty shall be null and void for specific
   become the property of BMW NA.                                vehicle components that were previously
                                                                 replaced with used or salvaged automobile parts.
   Warranty repairs do not constitute an extension
   of the original limited warranty period for the               This warranty shall be null and void if the odometer
   vehicle or a part thereof.                                    has been replaced or altered and the true mileage
  BMW of North America, LLC(BMW NA) makes                        on the vehicle cannot be determined, and/or the
  no other express warranty on this product except               Vehicle Identification Number(VIN)is altered
  for the new car warranty, rust perforation or the              and/or cannot be determined.
  emission system warranties.                                    This warranty shall be null and void if the vehicle
  THE DURATION OF ANY IMPLIED                                    has been declared a total loss, sold for salvage
  WARRANTIES,INCLUDING THE IMPLIED                               purposes, or if the vehicle has been used in any
  WARRANTY OF MERCHANTABILITY,IS                                 competitive event.

                                                             4



                                                                                             EXHIBIT A - 16
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  Federal Emissions System Defect                           For assistance in determining which specific
  Warranty(Valid Only in the U.S.A.                         parts or components of your vehicle are covered
                                                            under this warranty, please contact your
  including Puerto Rico)                                    authorized BMW center.
 This warranty applies only to U.S.-specification            It is the owner's responsibility to have all scheduled
 vehicles distributed by BMW of North America,               inspection and maintenance services performed
 LLC(BMW NA)or sold through the BMW NA                      (at the owner's expense when applicable), as
 European Delivery Program.                                  prescribed in the maintenance schedule for the
 I n accordance with the defect warranty                     BMW Emission Control System. Service intervals
 provisions of section 207(b) of the Clean Air Act,          are computed by the onboard BMW Condition
 BMW NA warrants to the first retail purchaser,              Based Service system and displayed on the
                                                             instrument panel. The instructions for proper
 and each subsequent purchaser, that the car(a)
                                                             maintenance and use can be found in the Owner's
 was designed, built and equipped so as to                   Manual. It is strongly recommended that any
 conform, at the time of sale, with all regulations          replacement parts used for maintenance, repair or
 of the U.S. Environmental Protection Agency                 replacement of emission control systems be
 applicable at the time of manufacture and (b) is           certified BMW Service Parts or BMW Authorized
 free from defects in materials and workmanship              Remanufactured Parts. Without invalidating this
 which would cause it to fail to conform with                warranty, the owner may elect to have
 applicable regulations for a period of 2 years or           maintenance, repair or replacement of the
 24,000 miles, whichever occurs first, except for           emission control systems performed by any
 specific emission control components(as listed             automotive repair establishment, or elect to use
 on page 8),for which the warranty period is                 parts other than certified BMW Service Parts.
 8 years or 80,000 miles, whichever occurs first.           However,the cost of such service or parts will not
                                                             be covered under this warranty, except in
 Coverage begins on the date of first retail sale or        emergency situations. In an emergency situation,
 the date the vehicle is first placed into service as       where an authorized BMW center or a warranty
 a sales demonstrator, Aftersales Mobility                  replacement part is not reasonably available (within
 Program(AMP)Vehicle or company vehicle,                    30 days), repairs may be performed at any available
 whichever is earlier.                                      service establishment using any equivalent part.
                                                            BMW NA will reimburse the owner for such
 Warranty claims must be made as soon as                    emergency repairs (including labor, parts and
 reasonably possible after a defect is discovered.          diagnosis not to exceed BMW NA rates for labor,
 To make a claim, the car must be brought to any             parts, and diagnosis in said area)that are covered
 authorized BMW center during normal business               under this warranty. Replaced parts and paid
 hours.                                                     invoices must be presented at an authorized BMW
 The authorized BMW center will, without charge             center as a condition of reimbursement for
 for parts and labor(including diagnosis), either           emergency repairs not performed by an authorized
                                                            BMW center.
 repair or replace the defective part, if any. The
 decision whether to repair or replace said parts is        The use of replacement parts, which are not of
 solely the prerogative of BMW NA and must be               equivalent quality, may impair the effectiveness
 expected to correct the failure of the warranted           of the emission control system. If other than
 part. Parts for which replacements are made                certified BMW Service Parts or Authorized
 become the property of BMW NA. In all cases, a             Remanufactured Parts are used for maintenance,
 reasonable time must be allowed for warranty               repair or replacement of components affecting
 repairs to be completed after the car is received          emission control, the owner should obtain
 by the authorized BMW center.                              assurances that such parts are warranted by their
                                                            manufacturer to be equivalent to genuine BMW
 Warranty repairs do not constitute an extension            parts in performance and durability. BMW NA
 of the original limited warranty period for the            assumes no liability under this warranty with
 vehicle or a part thereof.                                 respect to parts other than genuine BMW parts.

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   However,the use of non-genuine BMW                        General
   replacement parts or non-EPA certified parts
   does not invalidate the warranty on other                 These warranties give you specific legal rights,
   components, unless non-genuine BMW parts or               and you may also have other rights which vary
   non-EPA certified parts cause damage to                   from state to state.
   warranted parts.                                          THE DURATION OF ANY IMPLIED
                                                             WARRANTIES,INCLUDING THE IMPLIED
   What is not covered                                       WARRANTY OF MERCHANTABILITY,IS
                                                             LIMITED TO THE DURATION OF THE
   The car or any part of the car, unless the failure        EXPRESS WARRANTIES HEREIN.
   causes the car to fail to conform to the applicable
   emission regulations.                                     BMW NA HEREBY EXCLUDES INCIDENTAL
                                                             AND CONSEQUENTIAL DAMAGES,
   Malfunctions, including consequential, caused             I NCLUDING LOSS OF TIME,INCONVENIENCE,
   by negligence, misuse/improper operatibn of the           OR LOSS OF USE OF THE VEHICLE, FOR ANY
   vehicle, environmental influences,flood, accident
                                                             BREACH OF ANY EXPRESS OR IMPLIED
   or fire damage.
                                                             WARRANTY,INCLUDING THE IMPLIED
   Malfunctions, including consequential, caused             WARRANTY OF MERCHANTABILITY,
   by improper adjustment/repair, modification,              APPLICABLE TO THIS PRODUCT.
   alteration, tampering, disconnection, improper or
   inadequate maintenance except if one or more of           Some states do not allow limitations on how long
   these occurred as a result of repair work that was        an implied warranty lasts, or the exclusion or
   performed by an authorized BMW center under               limitation of incidental or consequential
   warranty.                                                 damages,so the above limitations and
                                                             exclusions may not apply to you. Additionally, if
   For gasoline engines, malfunctions caused by              you are a California, Connecticut, Delaware,
   the use of leaded fuel or fuels containing more           Maine, Maryland, Massachusetts, New Jersey,
   than 10% ethanol, or other oxygenates with more           New York, Oregon, Pennsylvania, Rhode Island,
   than 2.8% oxygen by weight (i.e., more than 15%
                                                             Vermont or Washington resident and your vehicle
   MTBE or more than 3% methanol plus an
   equivalent amount of co-solvent and/or as                 is registered in that state, your vehicle is eligible
                                                             for California Emissions Warranty coverage.
   specified in the Owner's Manual).
   Spark plugs,filters, and similar maintenance              These federal warranty provisions also apply to
   items are not covered under this warranty at or           all vehicles sold in all U.S. states and territories
                                                             regardless of whether a state has enacted state
   beyond the first replacement interval, or if the
                                                             warranty provisions that differ from the federal
   part has been replaced earlier for reasons other
   than it being defective.                                  provisions.

   Any car on which the odometer has been                    Federal Emissions Performance
   replaced or altered and the true mileage cannot           Warranty(Valid Only in the U.S.A.
   be determined.
                                                             including Puerto Rico)
   Any car on which the Vehicle Identification
   Number(VIN) is altered and/or cannot be                   I n those states and jurisdictions that have
   determined.                                               established periodic vehicle emissions tests to
                                                             encourage proper vehicle maintenance and
  For the Federal Emissions Warranty,"null and               require the car to pass an emissions test
  void" only applies when it is determined that the          approved by the U.S. Environmental Protection
  vehicle's total loss, being sold for salvage               Agency and:
  purposes or its use in competitive events
  "directly" caused the vehicle to not comply with           1. The car was distributed by BMW of North
  an applicable emission standard and/or caused                 America, LLC(BMW NA), or sold through the
  emission-relevant part(s)to fail.                             BMW NA European Delivery Program; and

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  2. The car has been maintained and operated in            No claim under this warranty will be denied on
     accordance with the instructions for proper            the basis of use of a properly installed EPA
     maintenance and use set forth in the Owner's           certified emission part for maintenance and
     Manual supplied with the car; and                      repair.

  3. The car fails to conform to the applicable             A vehicle manufacturer may deny an emission
                                                            performance warranty claim on the basis of an
     emissions standards of the EPA as judged by
                                                            uncertified replacement part used in the
     an EPA-approved emissions test; and
                                                            maintenance or repair of a vehicle only if the
  4. The failure to conform results or will result in       vehicle manufacturer presents evidence that the
     the owner of the car having to bear a penalty          uncertified replacement part is either defective in
     or other sanction (including the denial of the         materials or workmanship or not equivalent from
                                                            an emission standpoint to the original equipment
     right to use the car) under local state or
                                                            part.
    federal law if the non-conformity is not
     remedied within a specified period of time.            Maintenance, replacement, or repair of
                                                            emission control devices and systems may be
 Then, in accordance with the provisions of                 performed by any automotive repair
 section 207(b)of the Clean Air Act, BMW NA                 establishment or individual using any
 warrants that if the car is eligible for coverage          certified part.
  under this warranty, any non-conformities in the
 car, which cause it to fail an EPA-approved                Immediately after the car has failed an EPA-
 emissions test will, without charge for parts or           approved emission short test, your claim can be
 labor(including diagnosis), be adjusted, repaired,         made at any authorized BMW center. The
 or replaced, at the option of BMW NA to proper             authorized BMW center will honor or deny your
 specifications, in order to make the car comply            claim within the time period specified by local or
 with applicable emissions standards. The                   state laws(not to exceed 30 days),to avoid
 decision whether to adjust, repair or replace parts        further penalties or sanctions. If the claim is
 is solely the prerogative of BMW NA and must               denied,the authorized BMW center will notify
 reasonably be expected to correct the failure of           you in writing of the reason(s). The authorized
 the warranted part.                                        BMW center is required by law to honor the claim
                                                            if notice of denial is not received by the owner
 Coverage begins on the date of first retail sale or        within the specified time period.
 the date the vehicle is first placed into service as
 a sales demonstrator, Aftersales Mobility                  You may obtain further information concerning
 Program(AMP)Vehicle or company vehicle,                    the emission warranties, or report violations of
 whichever is earlier. This warranty continues for a        warranty terms, by contacting:
 period of 2 years or 24,000 miles, whichever               U.S. Environmental Protection Agency
 occurs first, except for specific emissions control        Office of Transportation and Air Quality
 components(as listed on page 8),for which the              Compliance Division, Light-Duty Vehicle Group
 warranty period is 8 years or 80,000 miles,                Attn: Warranty Complaints
 whichever occurs first.                                    2000 Traverwood Drive
                                                            Ann Arbor, MI 48105
 This warranty is made subject to the terms and             Email: complianceinfo@epa.gov
 conditions that apply to the Emission Control
 System Warranty and the New Vehicle Limited                The following systems are covered by the
 Warranty.                                                  Federal Emission Performance Warranty for a
                                                            period of 2 years or 24,000 miles, whichever
 Warranty repairs do not constitute an extension            occurs first. The specific systems may vary
 of the original limited warranty period for the            according to model;therefore, all of the systems
 vehicle or a part thereof.                                 listed may not be used on your vehicle. For
                                                            assistance in determining which systems and

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                                                                                         EXHIBIT A - 19
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   specific components within these systems apply         LIMITED TO THE DURATION OF THE
   to your vehicle, please contact your authorized        EXPRESS WARRANTIES HEREIN.
   BMW center.
                                                          BMW NA HEREBY EXCLUDES INCIDENTAL
   AIR INDUCTION SYSTEM                                   AND CONSEQUENTIAL DAMAGES,
                                                          I NCLUDING LOSS OF TIME,INCONVENIENCE,
   FUEL METERING SYSTEM                                   OR LOSS OF USE OF THE VEHICLE, FOR ANY
   IGNITION SYSTEM                                        BREACH OF ANY EXPRESS OR IMPLIED
                                                          WARRANTY,INCLUDING THE IMPLIED
   POSITIVE CRANKCASE VENTILATION                         WARRANTY OF MERCHANTABILITY,
   SYSTEM(PCV)                                            APPLICABLE TO THIS PRODUCT.
   FUEL EVAPORATIVE CONTROL SYSTEM                        Some states do not allow limitations on how long
   EXHAUST SYSTEM                                         an implied warranty lasts, or the exclusion or
                                                          limitation of incidental or consequential
   ENGINE EMISSION CONTROL SYSTEM                         damages,so the above limitations and
   SENSORS/DEVICES                                        exclusions may not apply to you.
   ONBOARD DIAGNOSTIC SYSTEM(OBD)                         These federal warranty provisions also apply to
                                                          all vehicles sold in all U.S. states and territories
   RELATED PARTS ASSOCIATED WITH THE
                                                          regardless of whether a state has enacted state
   ABOVE SYSTEMS
                                                          warranty provisions that differ from the federal
   The following components and systems are               provisions.
   covered under the Federal Emission Warranty for
   a period of8 years or 80,000 miles, whichever          California Emission Control
   occurs first.                                          Warranty Statement* Your
   CATALYTIC CONVERTER                                    Warranty Rights and Obligations
   ENGINE CONTROL MODULE(INCLUDING                        The California Air Resources Board and BMW of
   ONBOARD DIAGNOSTIC SYSTEM)                             North America, LLC(BMW NA)are pleased to
  For assistance in determining coverage of the           explain the emission control system warranty on
  specific components of the Onboard diagnostic           your 2017 vehicle. In California, new motor
  system, please contact your authorized BMW              vehicles must be designed, built and equipped to
  center.                                                 meet the State's stringent anti-smog standards.
                                                          BMW NA must warrant the emission control
                                                          system on your vehicle for the periods of time
   BMW i3 with Range Extender                             listed below provided there has been no abuse,
   The following components and/or systems are            neglect or improper maintenance of your vehicle.
   covered under the Federal Emission Warranty for        *The California Emissions Control System
   a period of 15 years or 150,000 miles, whichever       Limited Warranty applies to all 2017 U.S.-
   occurs first.                                          specification BMW vehicles registered in
   AUXILIARY POWER UNIT(APU)                              California, Connecticut, Delaware, Maine,
                                                          Maryland, Massachusetts, New Jersey, New
                                                          York, Oregon, Pennsylvania, Rhode Island,
   General                                                Vermont or Washington. This warranty also
  These warranties give you specific legal rights,        applies to SULEV(PZEV) models registered in
  and you may also have other rights which vary           Delaware, Oregon, Pennsylvania or Washington.
  from state to state.                                    The SULEV(PZEV) models registered in
                                                          California, Connecticut, Maine, Maryland,
  THE DURATION OF ANY IMPLIED                             Massachusetts, New Jersey, New York, Rhode
  WARRANTIES,INCLUDING THE IMPLIED                        Island and Vermont have different emissions
  WARRANTY OF MERCHANTABILITY,IS                          warranty coverage; please refer to the SULEV

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 (PZEV)section beginning on page 17. Vehicles               Owner's Warranty Responsibilities:
 covered by this warranty are also covered by the           - As the vehicle owner, you are responsible for
 Federal Emission Warranty.
                                                               the performance of the required maintenance
 Your emission control system may include parts                listed in your Maintenance booklet. BMW NA
 such as the fuel injection system, the ignition               recommends that you retain all receipts
 system, catalytic converter, and engine                       covering maintenance on your vehicle, but
 computer. Also included may be hoses, belts,                  BMW NA cannot deny warranty solely for the
 connectors and other emission-related                         lack of receipts or for your failure to ensure the
 assemblies.
                                                             . performance of all scheduled maintenance.
 Where a warrantable condition exists, BMW NA               - You are responsible for presenting your vehicle
 will repair your vehicle at no cost to you including          to an authorized BMW center as soon as a
 diagnosis, parts and labor.                                • problem exists. The warranty repairs should be
                                                               completed in a reasonable amount of time, not
 Manufacturer's Warranty Coverage:                             to exceed 30 days.
 - For 3 years or 50,000 miles, whichever occurs            - As the vehicle owner, you should also be aware
   first:                                                      that BMW NA may deny your warranty
  1. If your vehicle fails a Smog Check inspection,            coverage if your vehicle or part has failed due to
     all necessary repairs and adjustments will be             abuse, neglect, improper maintenance or
     made by BMW NA to ensure that your vehicle                unapproved modifications.
     passes the inspection. This is your emission           If you have any questions regarding your
     control system PERFORMANCE                             warranty rights and responsibilities, you should
     WARRANTY.                                              contact:
  2. If any emission-related part on your vehicle is           BMW of North America, LLC
     defective, the part will be repaired or replaced          Customer Relations and Services Department
     by BMW NA.This is your short-term                         P.O. Box 1227
     emission control system DEFECTS                           Westwood, NJ 07675-1227
     WARRANTY.                                                 Telephone: 1 800 831-1117
 - For 7 years or 70,000 miles, whichever occurs
                                                               Email: customerrelations@bmwusa.com
   first:
                                                               Website: www.bmwusa.com
 If an emission-related part specially noted on
 page 13 as having coverage for 7 years or                  or the
 70,000 miles is defective,the part will be
                                                               California Air Resources Board
 repaired or replaced by BMW NA. This is your
                                                               9528 Telstar Avenue
 long-term emission control system DEFECTS
                                                               El Monte, CA 91731
 WARRANTY.
 Warranty repairs do not constitute an extension
 of the original limited warranty period for the
 vehicle or a part thereof.




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   California Emission Control                               Coverage begins on the date of first retail sale or
                                                             the date the vehicle is first placed into service as
   System Limited Warranty*                                  a sales demonstrator, Aftersales Mobility
   This warranty applies to California certified             Program(AMP)Vehicle or company vehicle,
   vehicles distributed by BMW of North America,             whichever is earlier.
   LLC(BMW NA)or sold through the BMW NA                     To obtain service under this warranty, the vehicle
   European Delivery Program, registered and                 m ust be brought, upon failure of a Smog Check
   operated primarily in California.                         test or upon discovery of the defect, to the
   *The California Emissions Control System                  workshop of any authorized BMW center, during
   Limited Warranty applies to all 2017 U.S.-                normal business hours. The authorized BMW
   specification BMW vehicles registered in                  center will honor or deny your claim within
   California, Connecticut, Delaware, Maine,                 30 days. If the claim is denied,the authorized
   Maryland, Massachusetts, New Jersey, New                  BMW center will notify you in writing of the
   York, Oregon, Pennsylvania, Rhode Island,                 reason(s). The authorized BMW center is
   Vermont or Washington. This warranty also                 required by law to honor the claim if notice is not
   applies to SULEV(PZEV) models registered in               given to the owner within 30 days.
   Delaware, Oregon, Pennsylvania or Washington.             The authorized BMW center will, without charge
   The SULEV(PZEV) models registered in                      for parts or labor(including diagnosis), either
   California, Connecticut, Maine, Maryland,                 adjust, repair or replace the defective part and
   Massachusetts, New Jersey, New York, Rhode                other parts affected by the failure of the
   Island and Vermont have different emissions               warranted part, if any. If your vehicle failed the
   warranty coverage; please refer to the SULEV              California Smog Check test or an EPA-approved
  (PZEV)section beginning on page 17. Vehicles               short test,then BMW NA will repair your vehicle
   covered by this warranty are also covered by the          so that it will pass this test. Items that require
   Federal Emission Warranty.                                scheduled replacement are warranted prior to
   BMW NA warrants to the original purchaser and             their first replacement interval. BMW NA may
   each subsequent owner that the vehicle is:                repair a part in lieu of replacing it when
                                                             performing warranty repairs. Parts for which
   a. designed, built and equipped so as to                  replacements are made become the property of
      conform with the applicable California Air             BMW NA. After 3 years or 50,000 miles, and in
      Resources Board emission standards.                    accordance with paragraph (c)above,such
                                                             repairs are limited to the repair or replacement of
   b. free from defects in materials and                     those parts identified in the California Emissions
      workmanship which cause any part that can              Warranty List.
      affect emissions to fail to conform with
      applicable requirements or to fail a California        Vehicles sold in California are also subject to
                                                             Federal emission warranty provisions that run
      Smog Check test or EPA-approved short test             concurrently. For California vehicles, the specific
      for a period of 3 years or 50,000 miles,               emission control components listed on page 8
      whichever occurs first.                                are also covered under the Federal Emission
   c. free from defects in materials and                     System Defect Warranty of8 years or
                                                             80,000 miles, whichever occurs first.
      workmanship in emission-related parts, which
      are contained in the California Emission               If, within 7 years or 70,000 miles, whichever
      Warranty Parts List on page 13,for a period of         occurs first, the vehicle fails a Smog Check
      7 years or 70,000 miles, whichever occurs              because of a defect in a part listed in the
      first.                                                 California Emission Warranty Parts List on
                                                             page 13, repair or replacement will be performed
                                                             under this warranty.




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  Warranty repairs do not constitute an extension              A repair not completed within 30 days
  of the original limited warranty period for the             constitutes an emergency. BMW NA will
  vehicle or a part thereof.                                   reimburse the owner for such emergency repairs
                                                              (including labor, parts and diagnosis not to
 In all cases, a reasonable time, not to exceed               exceed BMW suggested retail price for all
 30 days, must be allowed for a warranty repair to             warranted parts replaced and labor charges
 be completed, after the car is received by the                based on the manufacturer's recommended time
 authorized BMW center.                                        allowance for the warranty repair and the
 It is the owner's responsibility to have all required         geographically appropriate hourly labor rate)that
 maintenance services performed (at the owner's                are covered under this warranty. Replaced parts
 expense when applicable), as prescribed in the                and paid invoices must be presented to an
 maintenance schedule for the BMW Emission                     authorized BMW center as a condition of
 Control System. Service intervals are computed                reimbursement for emergency repairs not
 by the Condition Based Service system and                     performed by an authorized BMW center.
 displayed on the instrument panel.                           The use of replacement parts, which are not of
 However, BMW NA will not deny your warranty                  equivalent quality, may impair the effectiveness
 repair claims solely because you do not have                 of emission control systems. If other than
 maintenance records or you did not perform the               genuine BMW Service Parts or Authorized
 required maintenance unless BMW NA                           Remanufactured Parts are used for maintenance,
 demonstrates that such lack of required                      repair or replacement of components affecting
 maintenance is a direct cause of the emission                emission control, the owner should obtain
 control system failure. Instructions for required            assurances that such parts are warranted by their
 maintenance and use can be found in the                      manufacturer to be equivalent to genuine BMW
 Owner's Manual and in the BMW Maintenance                    parts in performance and durability. BMW NA
 booklet.                                                     assumes no liability under this warranty with
                                                              respect to parts other than genuine BMW parts.
 It is strongly recommended that any replacement
 parts used for maintenance, repair or                        However,the use of non-genuine BMW
 replacement of emission control systems be                   replacement parts does not invalidate the
 genuine BMW Service Parts or BMW Authorized                  warranty on other components, unless
 Remanufactured Parts. Without invalidating this              non-genuine BMW parts cause damage to
 warranty, the owner may elect to have                        warranted parts.
 maintenance, repair or replacement of the
 emission control systems performed by any
 automotive repair establishment, or elect to use
 parts other than BMW Authorized
 Remanufactured or genuine BMW Service Parts.
 However,the cost of such service or parts will not
 be covered under this warranty, except in
 emergency situations. In an emergency situation,
 where an authorized BMW center is not
 reasonably available or a warranty replacement
 part is not available within 30 days, repairs may
 be performed at any available service
 establishment or by any individual using any
 replacement part.




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   What is not covered                                        General
   The car or any part of the car, unless the failure         The warranty gives you specific legal rights, and
   causes the car to fail to conform to the applicable        you may also have other rights which vary from
   emission regulations.                                      state to state.
   Malfunctions, including consequential, caused              THE DURATION OF ANY IMPLIED
   by negligence, misuse/improper operation of the            WARRANTIES,INCLUDING THE IMPLIED
   vehicle, environmental influences,flood, accident          WARRANTY OF MERCHANTABILITY,IS
   or fire damage.                                            LIMITED TO THE DURATION OF THE
                                                              EXPRESS WARRANTIES HEREIN.
   Malfunctions, including consequential, caused
   by improper adjustment/repair, modification,               BMW OF NORTH AMERICA, LLC(BMW NA)
   alteration, tampering, disconnection, improper or          HEREBY EXCLUDES INCIDENTAL AND
   inadequate maintenance except if one or more of            CONSEQUENTIAL DAMAGES,INCLUDING
   these occurred as a result of repair work that was         LOSS OF TIME,INCONVENIENCE,OR LOSS
   performed by an authorized BMW center under                OF USE OF THE VEHICLE, FOR ANY BREACH
   warranty.                                                  OF ANY EXPRESS OR IMPLIED WARRANTY,
                                                              I NCLUDING THE IMPLIED WARRANTY OF
   For gasoline engines, malfunctions caused by               MERCHANTABILITY, APPLICABLE TO THIS
   the use of leaded fuel or fuels containing more            PRODUCT.
   than 10% ethanol, or other oxygenates with more
   than 2.8% oxygen by weight(i.e., more than 15%             Some states do not allow limitations on how long
   MTBE or more than 3% methanol plus an                      an implied warranty lasts, or the exclusion or
   equivalent amount of co-solvent and/or as                  limitation of incidental or consequential
   specified in the Owner's Manual).                          damages,so the above limitations and
                                                              exclusions may not apply to you.
   Spark plugs, filters, and similar maintenance
   items are not covered under this warranty at or            Federal warranty provisions also apply to all
   beyond the first replacement interval, or if the           vehicles sold in all U.S. states and territories
   part has been replaced earlier for reasons other           regardless of whether a state has enacted state
   than it being defective.                                   warranty provisions that differ from the federal
                                                              provisions.
   Any car on which the odometer has been
   replaced or altered and the true mileage cannot            For assistance in determining which parts are
   be determined.                                             covered by this warranty, please contact your
                                                              authorized BMW center or the BMW NA
   Any car on which the Vehicle Identification                Customer Relations and Services Department at
   Number(VIN)is altered and/or cannot be                     1 800 831-1117. You may obtain further
   determined.                                                information concerning the emissions warranty
   This warranty shall be null and void if the vehicle        or report violations of warranty terms by
   has been declared a total loss, sold for salvage           contacting Air Resources Board (ARB), Mobile
   purposes, or if the vehicle has been used in any           Source Operations Division,9528 Telstar
   competitive event.                                         Avenue, El Monte,CA 91731. Please include the
                                                              title of the BMW service department head and
                                                              telephone number.




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 California Emission Warranty Parts List
 The following components are covered on the applicable vehicles for defects by the California Emission
 Control System Limited Warranty for a period of 15 years or 150,000 miles, or a period of 7 years or
 70,000 miles, whichever occurs first, subject to all applicable exclusions and limitations as indicated in
 the table below:
  Models:                       BMW 13 without            BMW 13 with              BMW i3 with
                                Range Extender            Range Extender           Range Extender
                                                                                  (DE,OR,PA & WA
                                                                                  only)
  Coverage:                                —              15 years                 7 years
                                                          150,000 miles2           70,000 miles
  Auxiliary Power Unit(APU)                —                        •                        *3

  Battery Management                     See'                       •                        •
  Electronics
  Catalytic Converter                      —                        •                        •
  Cell Supervision Circuit               Seel                       •                        •
  Control Unit DSC(Dynamic               Seel                       •                        •
  Stability Control Unit)
  Delivery Unit with In-tank               —                        •                        •
  Pump
  eDME (Electric Motor                   See'                       •                        •
  Control Unit)
  Electric A/C Compressor                Seel                       •                        •
  EME (Electric Motor                    See'                       •                        •
  Electronics)
  EVAP Canister(Activated                  —                        •                        •
  Charcoal Filter)
  Front Radiator Cooling Fan             See'                       •                        •
 (Fan Housing with Fan)                                                                             ,
  Fuel Feed Line                           —                        •                        •
  Fuel Level Sensor                        —                        •                        •
  Fuel Tank                                —                        •                        •
  Hydro Unit DSC(Dynamic                 See'                       •                        •
  Stability Control Unit)
  Isolation Valve (Insulation              —                        •                        •
  Valve)
  Pressure-temperature                     —                        •                        •
  Sensor, Fuel Tank
  rDME(Engine Control Unit)                —                        •                        •
  REME(Range Extender                      —                        •                        •
  Control Unit)
  Scavenge Air Line                        —                        •                        •
  Starter-generator                        —                        •                        •
  Temperature Sensor at HV               See'                       •                        •
  Battery Radiator


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                                                                                     EXHIBIT A - 25
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    Models:                        BMW i3 without           BMW i3 with               BMW i3 with
                                   Range Extender           Range Extender            Range Extender
                                                                                     (DE,OR,PA & WA
                                                                                      only)
    Coverage:                                —              15 years                  7 years
                                                            150,000 miles2            70,000 miles
    Traction Motor(e-Machine)               Seel                     •                        •
    All other emission-related               —                       •
    parts
   The following component is covered on the applicable vehicles for defects by the California Emission
   Control System Limited Warranty for a period of 10 years or 150,000 miles, or a period of 7 years or
   70,000 miles, whichever occurs first, subject to all applicable exclusions and limitations as indicated in
   the table below:
    Models:                      BMW i3 without              BMW i3 with              BMW i3 with
                                 Range Extender              Range Extender           Range Extender
                                                                                     (DE,OR,PA & WA
                                                                                      only)
    Coverage:                                 —              10 years                 7 years
                                                             150,000 miles2           70,000 miles
    High-Voltage Battery                    Se&                       •                       ol
   (Traction Battery)
  'For the applicable or other warranty and coverage information, please refer to the New Vehicle Limited
  Warranty statement on pages 2-4.
   2The California Emission Control System Limited Warranty coverage periods of 15 years/150,000 miles
   and 10 years/150,000 miles, as noted above, apply to vehicles registered in California, Connecticut,
   Maine, Maryland, Massachusetts, New Jersey, New York, Rhode Island, or Vermont.
   3The Auxiliary Power Unit(APU)is covered for 15 years/150,000 miles, whichever occurs first, in all
   states including Puerto Rico. Please refer to the Federal Emission Warranty statement on pages 5-8.




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 The following components are covered for defects by the California Emission Control System Limited
 Warranty for a period of 7 years or 70,000 miles, whichever comes first.
  M odel:                                                   BMW i8
  Coverage:                                                   7 years
                                                              70,000 miles
  Air Cleaner Housing [Intake Muffler]                                       •
 Battery Management Electronics Module(SME)                                  •
 [Electronic Memory Management]
  Catalytic Converter                                                        •
  Cell Monitoring Circuit                                                    •
  Cylinder Head Cover Gasket                                                 •
  DSC Electronic Control Module                                              •
  Electric A/C Compressor                                                    •
  Electric Motor Electronics(EME)                                            •
  Engine Control Unit(DME)                                                   •
  Evaporative Emission Canister [Activated Charcoal Filter]                  •
  Exhaust Manifold Gasket                                                    •
  Fuel Filler Pipe                                                           •
  Fuel Filler Pipe Seal Kit                                                  •
  Fuel Injector                                                              •
  Fuel Line to High-pressure Pump [Supply Line to Engine                     •
  Compartment]
  Fuel Line to Underbody Line [Inlet Fuel Hose]                              •
  Fuel Pump [Delivery Module]                                                •
  Fuel Pump Closure Ring                                                     •
  Fuel Pump 0-ring [Delivery Module 0-ring]                                  •
  Fuel Pump Support Ring                                                     •
  Fuel Rail [High-pressure Rail]                                             •
  Fuel Supply Line [Feed Line]                                               •
  Fuel Tank                                                                  •
  Fuel Tank Non-return Valve                                                 •-
  Generator Control Unit [Control Unit for REME]                             •
  High-pressure Fuel Pump                                                    •
  High-pressure Fuel Pump Gasket [Profile Gasket]                            •
  High-voltage Accumulator Cell                                              •
  Hybrid Drive [Electrical Machine][Traction Motor]                          •
  Intake Manifold                                                            •
  Intake Manifold Gasket Set                                                 •
  Knock Sensor[Ping Sensor]                                                  •
  Scavenge Air Line                                                          •
  Solenoid Valve(SOLV), Oil Map Control                                      •


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    Model:                                                 BMW i8
    Coverage:                                              7 years
                                                           70,000 miles
    Starter Motor Generator [Alternator]                                  •
    Temperature Sensor Water/oil                                          •
    Throttle Body, Adapter, and Gasket                                    •
    Timing Chain                                                          •
    Torque Converter                                                      •
    Transmission Control Module(EGS)                                      •
    Transmission Oil Pump Control Module                                  •
    Transmission Rotational Speed Sensor                                  •
   Transmission Valve Body                                                •
   Turbocharger                                                           •
   Turbocharger Outlet Gasket                                             •
   Turbocharger Outlet-to-Catalytic Converter Clamp                       •
    Valvetronic Actuator [Eccentric Shaft Actuator]                   0   •
    VANOS(WT)Actuator                                                     •
   VANOS(WT)Adjustment Unit, Exhaust                                      •
   VANOS(WT)Adjustment Unit, Intake                                       •
   VANOS(VVT)Central Valve                                                •




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 2017 Model Year PZEV Vehicles
  Series                                          Models
   BMW i3                                         BMW 13 with Range Extender PZEV

 California Emission Warranty —                                             California Emission Control
 PZEV                                                                       Warranty Statement SULEV
  The 2017 BMW 13 with Range Extender is
                                                                           (PZEV)* Your Warranty Rights and
  certified to California's stringent Super Ultra Low                       Obligations
  Emission Vehicle(SULEV)standards and also
                                                                               The California Air Resources Board and BMW of
  qualifies as a Type II Zero Emission Vehicle with
  Range Extender(Type Ilx ZEV) under the                                       North America, LLC(BMW NA)are pleased to
                                                                               explain the emission control system warranty on
  California Air Resources Board Zero Emission
  Vehicle program. In addition to very low tailpipe                            your 2017 vehicle. In California, new motor
                                                                               vehicles must be designed, built and equipped to
  and zero-evaporative emissions,this certification
                                                                               meet the State's stringent anti-smog standards.
  includes a unique Partial Zero Emission Vehicle
 (PZEV)warranty when the vehicle is registered in                              BMW NA must warrant the emission control
  California and certain other states, as indicated in                         system on your vehicle for the periods of time
  the PZEV section beginning on page 17. PZEV                                  listed below provided there has been no abuse,
                                                                               neglect or improper maintenance of your vehicle.
  models registered in Delaware, Oregon,
  Pennsylvania and Washington are covered by the                               *The California Emissions Control System
  California Emission Warranty beginning on                                     Limited Warranty SULEV(PZEV)applies to all
  page 19.                                                                     2017 U.S.-specification BMW SULEV(PZEV)
 The emission certification standard can be                                     vehicles registered in California, Connecticut,
 verified on the Vehicle Emission Control                                       Maine, Maryland, Massachusetts, New Jersey,
 Information label located on the underside                                     New York, Rhode Island or Vermont. The SULEV
                                                                               (PZEV)models registered in Delaware, Oregon,
 surface of the tailgate. A representative label is
 shown below;the Type Ilx ZEV certification is                                  Pennsylvania or Washington have different
                                                                               emissions warranty coverage; please refer to the
 stated after the word "California."
                                                                                California Emissions Warranty section beginning
                Bayerische Motoren Werke AG                                     on page 8. Vehicles covered by this warranty are
 0 VEHICLE EMISSION CONTROL INFORMATION                                         also covered by the Federal Emission Warranty.
 Conforms to regulations:             2017 MY
                                                 Fuel: electricity LI+,
                                                                               Your emission control system may include parts
  U.S. EPA: Tier3-Bin30 LDV
  EVAP:         Tier2 LDV
                                     CA OBD II         gasoline                such as the fuel injection system,the ignition
  California: LEVIII-SULEV30(PZEV)PC         Fuel: electricity LI+,            system, catalytic converter, and engine
                                   CA OBD 11       gasoline
  EVAP:       LEVII ZERO EVAP PC                                               computer. Also included may be hoses, belts,
  No adjustments needed.
                                    TVVC, WR-H02S,                             connectors and other emission-related
                                    HO2S, SFI
                                                                               assemblies.
  Group: HBMXV00.613R
   Evap: HBMXR003513R                                                          Where a warrantable condition exists, BMW NA
                                                                               will repair your vehicle at no cost to you including
                                                                               diagnosis, parts and labor.




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   Manufacturer's Warranty Coverage                            70,000 miles is defective, the part will be
  (California, Connecticut, Maine,                             repaired or replaced by BMW NA.This is your
   Maryland, Massachusetts, New                                long-term emission control system DEFECTS
   Jersey, New York, Rhode Island, or                          WARRANTY.
   Vermont ONLY):                                              Warranty repairs do not constitute an extension
   - For 15 years or 150,000 miles, whichever                  of the original limited warranty period for the
     occurs first**:                                           vehicle or a part thereof.
   **Except High-Voltage Battery(Traction Battery),
   which is covered for 10 years, or 150,000 miles,            Owner's Warranty Responsibilities:
   whichever occurs first.                                     - As the vehicle owner, you are responsible for
                                                                 the performance of the required maintenance
   1. If your vehicle fails a Smog Check inspection,             listed in your Maintenance booklet. BMW NA
      all necessary repairs and adjustments will be              recommends that you retain all receipts
      made by BMW NA to ensure that your vehicle                 covering maintenance on your vehicle, but
      passes the inspection. This is your emission               BMW NA cannot deny warranty solely for the
      control system PERFORMANCE                                 lack of receipts or for your failure to ensure the
      WARRANTY.                                                  performance of all scheduled maintenance.
   2. If any emission-related part on your vehicle is          - You are responsible for presenting your vehicle
      defective, the part will be repaired or replaced           to an authorized BMW center as soon as a
      by BMW NA.This is your emission control                    problem exists. The warranty repairs should be
     system DEFECTS WARRANTY.                                    completed in a reasonable amount of time, not
                                                                 to exceed 30 days.
   Warranty repairs do not constitute an extension
   of the original limited warranty period for the             - As the vehicle owner, you should also be aware
   vehicle or a part thereof.                                    that BMW NA may deny your warranty
                                                                 coverage if your vehicle or part has failed due to
   Manufacturer's Warranty Coverage                              abuse, neglect, improper maintenance or
  (Delaware, Oregon,Pennsylvania,                                unapproved modifications.
   and Washington ONLY):                                       If you have any questions regarding your
  - For 3 years or 50,000 miles, whichever occurs              warranty rights and responsibilities, you should
   first:                                                      contact:
   1. If your vehicle fails a Smog Check inspection,              BMW of North America, LLC
      all necessary repairs and adjustments will be               Customer Relations and Services Department
      made by BMW NA to ensure that your vehicle                  P.O. Box 1227
      passes the inspection. This is your emission                Westwood, NJ 07675-1227
     control system PERFORMANCE                                   Telephone: 1 800 831-1117
      WARRANTY.
                                                                  Email: customerrelations@bmwusa.com
   2. 1f any emission-related part on your vehicle is
       defective, the part will be repaired or replaced           Website: www.bmwusa.com
       by BMW NA.This is your emission control                 or the
       system DEFECTS WARRANTY.
  - For 7 years or 70,000 miles, whichever occurs                 California Air Resources Board
     first:                                                       9528 Telstar Avenue
                                                                  El Monte,CA 91731
  If an emission-related part specially noted on
  page 13 as having coverage for 7 years or

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 California Emission Control                                 applicable requirements or to fail a California
 System Limited Warranty PZEV*                               Smog Check test or EPA-approved short test
                                                             for a period of 3 years or 50,000 miles,
  This warranty applies to California-certified              whichever occurs first.
  vehicles distributed by BMW of North America
 (BMW NA)or sold through the BMW NA                        c. free from defects in materials and
  European Delivery Program, registered and                   workmanship in emission related parts, which
 operated primarily in California, Connecticut,               are contained in the California Emission
  Maine, Maryland, Massachusetts, New                         Warranty Parts List on page 13,for a period of
 Jersey, New York, Rhode Island or Vermont.                   7 years or 70,000 miles, whichever occurs
 *The California Emissions Control System                     first.
 Limited Warranty PZEV applies to all 2017                 Coverage begins on the date of first retail sale or
 U.S.-specification BMW PZEV vehicles                      the date the vehicle is first placed into service as
 registered in California, Connecticut, Maine,             a sales demonstrator, Aftersales Mobility
 Maryland, Massachusetts, New Jersey, New                  Program(AMP)Vehicle or company vehicle,
 York, Rhode Island or Vermont. Vehicles covered           whichever is earlier.
 by this warranty are also covered by the Federal
 Emission Warranty.                                        To obtain service under this warranty, the vehicle
                                                           must be brought, upon failure of a Smog Check
 BMW NA warrants to the original purchaser and             test or upon discovery of the defect, to the
 each subsequent owner that the vehicle is:                workshop of any authorized BMW center, during
 a. designed, built and equipped so as to                  normal business hours. The authorized BMW
    conform with the applicable California Air             center will honor or deny your claim within
    Resources Board emission standards.                    30 days. If the claim is denied,the authorized
                                                           BMW center will notify you in writing of the
 b. free from defects in materials and                     reason(s). The authorized BMW center is
    workmanship which cause any part that can              required by law to honor the claim if notice is not
    affect emissions to fail to conform with               given to the owner within 30 days.
    applicable requirements or to fail a California
    Smog Check test or EPA-approved short test             The authorized BMW center will, without charge
                                                           for parts or labor(including diagnosis), either
    for a period of 15 years or 150,000 miles,
                                                           adjust, repair or replace the defective part and
    whichever occurs first.
                                                           other parts affected by the failure of the
 c. free from defects in materials and                     warranted part, if any. If your vehicle failed the
    workmanship in emission-related parts for a            California Smog Check test or an EPA-approved
    period of 15 years or 150,000 miles,                   short test, then BMW NA will repair your vehicle
    whichever occurs first.                                so that it will pass this test. Items that require
                                                           scheduled replacement are warranted prior to
 For vehicles registered and operated                      their first replacement interval. BMW NA may
 primarily in Delaware, Oregon,Pennsylvania,               repair a part in lieu of replacing it when
 or Washington, BMW NA warrants to the                     performing warranty repairs. Parts for which
 original purchaser and each subsequent owner              replacements are made become the property of
 that the vehicle is:                                      BMW NA.
 a. designed, built and equipped so as to                  If, within 7 years or 70,000 miles, whichever
    conform with the applicable California Air             occurs first, the vehicle fails a Smog Check
    Resources Board emission standards.                    because of a defect in a part listed in the
 b. free from defects in materials and                     California Emission Warranty Parts List on
    workmanship which cause any part that can              page 13, repair or replacement will be performed
                                                           under warranty.
    affect emissions to fail to conform with

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   Warranty repairs do not constitute an extension              based on the manufacturer's recommended time
   of the original limited warranty period for the              allowance for the warranty repair and the
   vehicle or a part thereof.                                   geographically appropriate hourly labor rate)that
                                                                are covered under this warranty. Replaced parts
   In all cases, a reasonable time, not to exceed               and paid invoices must be presented to an
   30 days, must be allowed for a warranty repair to            authorized BMW center as a condition of
   be completed, after the car is received by the               reimbursement for emergency repairs not
   authorized BMW center.                                       performed by an authorized BMW center.
   It is the owner's responsibility to have all required        The use of replacement parts, which are not of
   maintenance services performed (at the owner's               equivalent quality, may impair the effectiveness
   expense when applicable), as prescribed in the               of emission control systems. If other than
   maintenance schedule for the BMW Emission                    genuine BMW Service Parts or Authorized
   Control System. Service intervals are computed               Remanufactured Parts are used for maintenance,
   by the Condition Based Service system and                    repair or replacement of components affecting
   displayed on the instrument panel.                           emission control, the owner should obtain
   However, BMW NA will not deny your warranty                  assurances that such parts are warranted by their
   repair claims solely because you do not have                 manufacturer to be equivalent to genuine BMW
   maintenance records or you did not perform the               parts in performance and durability. BMW NA
   required maintenance unless BMW NA                           assumes no liability under this warranty with
   demonstrates that such lack of required                      respect to parts other than genuine BMW parts.
   maintenance is a direct cause of the emission                However,the use of non-genuine BMW
   control system failure. Instructions for required            replacement parts does not invalidate the
   maintenance and use can be found in the Owner's              warranty on other components, unless
   Manual and in the.BMW Maintenance booklet.                   non-genuine BMW parts cause damage to
   It is strongly recommended that any replacement              warranted parts.
   parts used for maintenance, repair or
   replacement of emission control systems be                   What is not covered
   genuine BMW Service Parts or BMW Authorized
   Remanufactured Parts. Without invalidating this              The car or any part of the car, unless the failure
   warranty, the owner may elect to have                        causes the car to fail to conform to the applicable
   maintenance, repair or replacement of the                    emission regulations.
   emission control systems performed by any                    Malfunctions, including consequential, caused
   automotive repair establishment, or elect to use             by negligence, misuse/improper operation of the
   parts other than BMW Authorized                              vehicle, environmental influences,flood, accident
   Remanufactured or genuine BMW Service Parts.                 or fire damage.
   However,the cost of such service or parts will not
   be covered under this warranty, except in                    Malfunctions, including consequential, caused
   emergency situations. In an emergency situation,             by improper adjustment/repair, modification,
   where an authorized BMW center is not                        alteration, tampering, disconnection, improper or
   reasonably available or a warranty replacement               inadequate maintenance except if one or more of
   part is not available within 30 days, repairs may            these occurred as a result of repair work that was
   be performed at any available service                        performed by an authorized BMW center under
   establishment or by any individual using any                 warranty.
   replacement part.
                                                                For gasoline engines, malfunctions caused by
   A repair not completed within 30 days                        the use of leaded fuel or fuels containing more
   constitutes an emergency. BMW NA will                        than 10% ethanol, or other oxygenates with more
   reimburse the owner for such emergency repairs               than 2.8% oxygen by weight (i.e., more than 15%
  (including labor, parts and diagnosis not to                  MTBE or more than 3% methanol plus an
  exceed BMW suggested retail price for all                     equivalent amount of co-solvent and/or as
   warranted parts replaced and labor charges                   specified in the Owner's Manual).

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 Spark plugs,filters, and similar maintenance               For assistance in determining which parts are
 items are not covered under this warranty at or            covered by this warranty, please contact your
 beyond the first replacement interval, or if the           authorized BMW center or the BMW NA
 part has been replaced earlier for reasons other           Customer Relations and Services Department at
 than it being defective.                                   1 800 831-1117. You may obtain further
 Any car on which the odometer has been                     information concerning the emissions warranty
 replaced or altered and the true mileage cannot            or report violations of warranty terms by
 be determined.                                             contacting Air Resources Board (ARB), Mobile
                                                            Source Operations Division, 9528 Telstar
 Any car on which the Vehicle Identification                Avenue, El Monte, CA 91731. Please include the
 Number(VIN)is altered and/or cannot be                     title of the BMW service department head and
 determined.                                                telephone number.
 This warranty shall be null and void if the vehicle
 has been declared a total loss, sold for salvage           Tire Warranty Statement
 purposes, or if the vehicle has been used in any
 competitive event.                                         Original equipment tires on new BMW vehicles
                                                            are warranted by their respective manufacturer
                                                            as detailed in the applicable tire manufacturer's
 General                                                    warranty statement.
 The warranty gives you specific legal rights, and          The CD ROM BMW provides in the vehicle's
 you may also have other rights which vary from
                                                            documents portfolio contains the warranty
 state to state.
                                                            statements for the following original equipment
 THE DURATION OF ANY IMPLIED                                tire manufacturers(as applicable to your vehicle):
 WARRANTIES,INCLUDING THE IMPLIED
 WARRANTY OF MERCHANTABILITY,IS                             '
                                                            E Bridgestone/Firestone
 LIMITED TO THE DURATION OF THE                             >
                                                            I Continental
 EXPRESS WARRANTIES HEREIN.
                                                            D Goodyear/Dunlop
 BMW OF NORTH AMERICA, LLC HEREBY                             Hankook
 EXCLUDES INCIDENTAL AND
 CONSEQUENTIAL DAMAGES,INCLUDING                            >
                                                            I Michelin
 LOSS OF TIME,INCONVENIENCE,OR LOSS                         D Pirelli
 OF USE OF THE VEHICLE, FOR ANY BREACH
 OF ANY EXPRESS OR IMPLIED WARRANTY,                        The terms and conditions of the tire
 I NCLUDING THE IMPLIED WARRANTY OF                         manufacturers' warranties are independently
 MERCHANTABILITY, APPLICABLE TO THIS                        determined by the tire manufacturers without
 PRODUCT.                                                   input from BMW.We recommend either
                                                            contacting or visiting the specific tire
 Some states do not allow limitations on how long           manufacturer's website to ensure that you have
 an implied warranty lasts, or the exclusion or             the most current tire warranty information that
 limitation of incidental or consequential
                                                            applies to your tires.
 damages,so the above limitations and
 exclusions may not apply to you.                           Should you have difficulty in obtaining the
 Federal warranty provisions also apply to all              applicable warranty service from a tire
 vehicles sold in all U.S. states and territories           manufacturer, your authorized BMW center will
 regardless of whether a state has enacted state            assist you in resolving the situation.
 warranty provisions that differ from the federal           Instructions for proper tire care and maintenance
 provisions.                                                are contained in the Wheels and Tires section of
                                                            your vehicle's Owner's Manual.



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   12 Volt Battery Care*                                         The high-voltage lithium-ion battery requires no
                                                                 maintenance except for keeping the vehicle's
     Battery posts, terminals and related
   A accessories contain lead and lead
                                                                 high-voltage lithium-ion battery charged to
                                                                 proper specifications; refer to the Owner's
   compounds; chemicals known to the State of                    Manual.
   California to cause cancer.1
                                                                 For the entire duration of the high-voltage
   If your vehicle is driven only for short distances of         lithium-ion battery Limited Warranty and the
   less than 10 miles over a prolonged period of                 high-voltage lithium-ion battery Capacity
   time, without an occasional drive at highway
                                                                 Coverage, repairs performed according to limited
   speeds,the engine's charging system will not
                                                                 warranties and capacity coverage are provided
   maintain the battery. Insufficient use of the
   vehicle could result in short-term starting                   without charge. The vehicle should be taken to
   problems and, in the long term, could damage                  an authorized BMW center to have these repairs
   the battery.                                                  performed by specially trained personnel under
                                                                 the terms of the high-voltage lithium-ion battery
   In case your vehicle will not be operated for                 Limited Warranty and the high-voltage lithium-
   several weeks, it is advisable to:                            ion battery Capacity Coverage.
   D consider using a proper trickle charger,
      following the charger manufacturer's                       Corrosion Protection
      instructions, to maintain the battery's state of
      charge; or                                                 Extensive corrosion protection measures
                                                                 implemented by BMW now make it possible to
   I consult your authorized BMW center or
   >                                                             offer a 12-year unlimited mileage anti-corrosion
      another qualified service center regarding                 warranty against rust perforation on your vehicle
      battery removal. Once removed,the battery                  provided that the vehicle is properly maintained.
      must be charged and stored in a cool, dry                  Information on proper maintenance is available in
      place where it can be protected from freezing.             this Booklet and your vehicle's Owner's Manual.
      If the battery will be stored for over 3 months, it
      must be recharged every 3 months,or else it                The major degree of corrosion protection is due
      will become damaged and useless.                           to the electrophoretic dip painting process which
                                                                 cathodically deposits paint particles on all body
   Please consult with your authorized BMW center                parts, attracting paint particles into the minutest
   or another qualified service center for further               cavities or seams. Body parts are designed to
   guidance and information.                                     provide optimum corrosion protection.
   *The information above refers to the 12-volt                  During manufacture, metal exterior body parts
   service battery and not the high-voltage battery.             receive an additional corrosion protection coat.
                                                                 Hood,trunk, doors and other body parts are
   High-Voltage Lithium-Ion Battery                              coated with PVC and sealed from the outside.
   Care and Repairs
                                                                 All floor panels receive a resilient coating of PVC
   The BMW i3, BMW i3 with Range Extender and                    for maximum protection against damage due to
   BMW i8 are powered by a high-voltage                          stones, etc.
   lithium-ion battery enclosed in a self-contained
   system. Opening or removing the self-contained                Corrosion protection materials tested over many
   system creates a genuine risk of severe damage                years are applied to the surfaces of cavities and
   to the high-voltage lithium-ion battery as well as            to the entire underside of the vehicle during and
   personal injury, including fatal electrocution.               after assembly.
                                                                 For additional information on the 12-year
                                                                 unlimited mileage anti-corrosion warranty,see
                                                                 the Warranty section of this Booklet on page 4.


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 Restoring corrosion protection                              Gasoline Engines — Fuel Quality
 Please take care that anti-corrosion material is            Use fuels advertised to have adequate
 replaced when your car is repaired after body or            detergency and low alcohol(such as ethanol)
 chassis damage.                                             content. Please refer to your Owner's Manual for
                                                             important information on the fuel recommended
 Underbody maintenance                                       for use in your vehicle. Use of fuels with
                                                             insufficient detergent and/or excess alcohol can
 The underbody has to be cleaned at least once a             cause driveability problems that necessitate
 year, in Spring, with plain water in order to               cleaning intake valves and fuel injection valves,
 remove mud,chemical sediments and other                     and, when applicable, adjusting the engine idle.
 deposits. If those materials are not removed,               We recommend having this work performed by
 corrosion (rust) will occur on metal components.            your authorized BMW center or another qualified
                                                             service center, perhaps while regular
 Your authorized BMW center can do this                      maintenance is performed. Your authorized BMW
 anti-corrosion service for you.                             center can also recommend a gasoline additive
       not apply additional undercoating or                  that will provide sufficient detergency. This
 A Do
   rust-proofing on or near the exhaust                      recommended, unscheduled maintenance,
 manifold, exhaust pipes, catalytic converter or heat        which may be necessitated by use of
 shields. During driving, the substance used for             inappropriate fuels, is not required in order to
 undercoating could overheat and cause a fire.1              maintain the emission warranty. It also is not
                                                             covered by your vehicle's warranty because no
                                                             defect in material or workmanship or component
                                                             failure is involved.




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   Notice
   The "National Traffic and Motor Vehicle Safety Act of 1966" requires manufacturers to be in a position
   to contact vehicle owners when a correction of a safety-related defect or noncompliance issue with an
   applicable federal motor vehicle safety standard becomes necessary.
   Please see the Correcting, Updating or Changing Vehicle-Related or Ownership Information section.

   Correcting, Updating or Changing Vehicle-Related or Ownership
   Information
   To enable BMW to contact you with important vehicle product and safety updates, including vehicles
   with expired warranty coverage, please update your vehicle-related or ownership information by either:
  D Logging on at www.bmwusa.com to access your My BMW Account(create a new account as
    necessary)
  E Contacting the BMW Customer Relations and Services Department at 1 800 831-1117
  '
  D Completing and mailing the Information Change Card, located at the back of this Booklet
   Please have your vehicle's 17-character Vehicle Identification Number(VIN)available.

   Exporting Your BMW Vehicle
   Your vehicle has been specifically adapted and designed to meet the particular operating
   conditions and homologation requirements in your country and continental region in order to
   deliver the full BMW driving pleasure while the vehicle is operated under those conditions.
  If you wish to operate your vehicle in another country or region, you may be required to adapt
  your vehicle to meet different prevailing operating conditions and homologation requirements.
  You should also be aware of any applicable warranty limitations or exclusions for such country
  or region. In such case, please contact the Customer Relations and Services Departmentfor
  further information.




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 Customer Assistance Information                           BMW center. Please remember: the first step in
                                                           resolving a complaint is to contact the authorized
 Your satisfaction with our product and the                BMW center that performed the work on your
 services provided by authorized BMW centers is            vehicle. They have the necessary equipment and
 of great importance to us. We take pride in our           the personnel to achieve this goal.
 product, as does the authorized BMW center
 who services it. If you should ever have a                We are confident that every effort will be made to
 question regarding your authorized BMW                    ensure your satisfaction.
 center's service or your BMW's performance, we
 recommend that you contact your authorized                Customer Assistance — Notification
 BMW center.
                                                           During a specific period (for example,the earlier
 When contacting an authorized BMW center, we              of 12 months or 12,000 miles,though this period
 suggest that, depending upon the nature of your           varies by state), some states require us or our
 contact, you discuss it with either the Sales,            authorized BMW center,to repair in a reasonable
 Service, or Parts Manager.                                number of attempts, any defect or condition
                                                           which substantially impairs the use, value, or
 As all matters are resolved at the authorized             safety of a new vehicle sold, leased or registered
 BMW center level, it is important that they be
                                                           in that state.
 given the opportunity to provide a solution.
 Should you feel that you were not provided with           A reasonable number of attempts is generally
 the proper response, we urge you to contact the           defined as (i)four or more attempts to repair the
 General Manager or authorized BMW Center                  same defect(the number of attempts vary by
 Operator.                                                 state) or (ii) the vehicle is out of service by reason
 Despite the best intentions of all parties, a             of one or more repair(s)for more than a
 misunderstanding may occur between you and                cumulative total of 30 days (this period varies by
 your authorized BMW center. Should this occur             state), except for delays created by conditions
 and you require further assistance, please                beyond our control.
 contact the BMW NA Customer Relations and
                                                           If we are unable to correct a defect or condition
 Services Department at:
                                                           covered by these statutes in a reasonable
 Telephone: 1 800 831-1117                                 number of attempts, we may be obligated either
                                                           to replace the vehicle or reimburse the owner/
 Email: customerrelations@bmwusa.com
                                                           lessee in an amount equal to the purchase price
 Website: www.bmwusa.com                                   or lease payments paid by the owner/lessee, less
                                                           the amount directly attributable to use of the
   When contacting us, we ask that you provide the         vehicle by the owner/lessee.
 following information:
   I Your name,address and telephone number
   >                                                       You should send written notification directly
  I> Vehicle Identification Number(last seven              to BMW of North America, LLC ofthe
     digits)                                               existence of an alleged defect. Send written
                                                           communication to the Customer Relations
 > Vehicle delivery date                                   and Services Department address listed
  >
  I Vehicle mileage                                        below.
  I Selling authorized BMW center's name
  >                                                                BMW of North America, LLC
 I> Servicing authorized BMW center's name                  Customer Relations and Services Department
 I> Description of the problem                                            PO. Box 1227
                                                                   Westwood, NJ 07675-1227
 A BMW NA Customer Relations and Services
 Representative will carefully review all the facts                   Telephone: 1 800 831-1117
 involved and let you know what further action will
 be taken in conjunction with your authorized                   Email: customerrelations@bmwusa.com

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   IMPORTANT: IF THIS VEHICLE HAS A DEFECT                    4. If the same defect substantially continues to
   THAT SUBSTANTIALLY AFFECTS ITS USE,                           exist after the manufacturer has had the last
   VALUE OR SECURITY, OR THAT MAY CAUSE                          opportunity to repair or correct the defect,
   DEATH OR SERIOUS BODILY INJURY IF                             you may file a claim for compensation under
   DRIVEN, AND WAS PURCHASED, LEASED OR                          the New Jersey lemon law.
   REGISTERED IN NEW JERSEY,YOU MAY HAVE
   THE RIGHT UNDER THE LEMON LAW IN THE                       FOR COMPLETE INFORMATION ABOUT YOUR
   STATE OF NEW JERSEY TO A REFUND OF                         RIGHTS AND RESOURCES UNDER THIS LAW,
   THE PRICE OF PURCHASE OR TO YOUR                           I NCLUDING THE MANUFACTURER'S
   LEASE PAYMENTS.                                            ADDRESS FOR NOTIFICATION OF THE
                                                              DEFECT,PLEASE CONTACT: NEW JERSEY
   Here is a summary of your rights:                          DEPARTMENT OF LAW AND PUBLIC SAFETY,
                                                              DIVISION OF CONSUMER AFFAIRS, LEMON
   1. To qualify for compensation under the New               LAW UNIT, POST OFFICE BOX 45026,
      Jersey lemon law, you must give the                     NEWARK, NEW JERSEY 07101, PHONE
      manufacturer or your dealer opportunity to              NUMBER: 1 973 504-6226.
      repair or correct the defect of the vehicle
                                                              I MPORTANTE:SI EL VEHICULO TIENE UN
      within the terms of protection under the                DEFECTO QUE AFECTE DE MANERA
      lemon law, which are the first 24,000 miles of          SUSTANCIAL SU USO,VALOR 0SEGURIDAD,
      operation or two years after the date of                O QUE PUEDA CAUSAR LA MUERTE0
      original date of delivery or whichever comes            LESIONES CORPORALES GRAVES SI SE
     first.                                                    MANEJA,Y SE COMPRO,ARRENDO 0
                                                              REGISTRO EN NUEVA JERSEY,PUEDE TENER
   2. If the manufacturer or your dealer cannot fix           DERECHO EN LOS TERMINOS DE LA LEY
      or correct the defect within a reasonable               SOBRE DEFECTOS CONOCIDA COMO
      amount of time, you may have the right to               "LEMON LAW" DEL ESTADO DE NUEVA
      return the vehicle and receive a full refund,           JERSEY A UN REEMBOLSO DEL PRECIO DE
      less a discount for the use of the vehicle.             COMPRA 0 DEL PAGO DEL
                                                              ARRENDAMIENTO.
   3. If it is assumed that the manufacturer or your
                                                              Aqui le damos un sumario de sus derechos:
      dealer cannot repair or correct the defect and
      if the same defect continues to substantially           1 Para tener derecho a una indemnizacibn en
      exist after that the manufacturer has received            los terminos de la "Lemon Law" de Nueva
      a notice of the defect, sent by certified mail            Jersey, debe dar el fabricante o a su
      with return receipt, and has had a final                  concesionaria la oportunidad de reparar o
      chance to correct the defect or condition                 corregir el defecto del vehiculo dentro de los
      within 10 days of receiving the notice. This              plazos de protecciOn que establece esta ley,
      notice must be received by the manufacturer               que son las primeras 24,000 millas de
      within the terms of protection and can only               operaciOn o dos ems a partir de la fecha de
      be given after (i) the manufacturer or your               entrega original, lo que ocurra primero.
     dealer has attempted two or more times to
                                                              2. Si el fabricante o su concesionaria no pueden
     correct the defect;(ii) the manufacturer or
                                                                 arreglar o corregir el defecto en un plazo
      your dealer has attempted, at least once,to
                                                                 razonable, puede tener derecho a devolver el
     correct the defect if the defect is one which
                                                                 vehiculo y recibir un reembolso Integra,
     can cause death or serious bodily injury if the
                                                                 menos un descuento por el uso del vehiculo.
      vehicle is operated; or (iii) the vehicle has
      been out of service for repairs by a total of 20
     calendar days accumulation or more, or in the
     case of a rolling motorized house
    (motorhome)45 days or more.

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  3. Se da por sentado que el fabricante o su               BBB Auto Line
     concesionaria no pueden reparar o corregir el
     defecto si el mismo defecto continua                    If your concern is still not resolved to your
     existiendo de manera sustancial despues de             satisfaction, BMW NA offers additional
     que el fabricante ha recibido una notificaci6n          assistance through BBB AUTO LINE in
     del defecto enviada por correo certificado              ARKANSAS,CALIFORNIA, GEORGIA,IDAHO,
     con acuse de recibo, y ha tenido un ultima              IOWA,KENTUCKY, MARYLAND,
                                                             MASSACHUSETTS, MINNESOTA,
     oportunidad de corregir el defecto o
                                                             PENNSYLVANIA,and VIRGINIA. BBB AUTO
     problema en los 10 dias posteriores a la
                                                             LINE is a dispute resolution program
     recepciOn de la notificaci6n. Esta notificaci6n         administered by the Council of Better Business
     debe ser recibida pore!fabricante dentro de             Bureaus. BBB AUTO LINE resolves disputes
     los plazos de protecciOn y solo se puede dar            through mediation or arbitration. Mediation is an
     despues de que (i) el fabricante o su                   informal proceeding whereby a neutral third party
    concesionaria han intentado dos o mas                   (mediator) helps the parties to find an acceptable
    veces corregir el defecto,(ii) el fabricante o           resolution. Arbitration is also an informal
    su concesionaria han intentado, al menos                 proceeding in which an impartial third party
     una vez, corregir el defecto si este puede              renders a decision after a hearing at which both
    causar la muerte o lesiones corporales                   parties have an opportunity to be heard. You can
    graves si se maneja el vehiculo, o (iii) el             select mediation or arbitration or both.
    vehiculo ha estado fuera de servicio por                The program is free of charge to you,the
    reparaciones un total de 20 dias calendario o           consumer, but there are some minimum
     mas, o en el caso de una casa rodante                  requirements for participation in the program.
     motorizada (casa rodante),45 dias o mas.               Please contact BBB AUTO LINE at the address
                                                            or phone number listed below for more details:
  4. Si el mismo defecto sigue existiendo de
     manera sustancial despues de que el                       BBB AUTO LINE
     fabricante ha tenido la Ciltima oportunidad de            3033 Wilson Boulevard, Suite 600
                                                               Arlington, VA 22201
     reparar o corregir dicho defecto, puede
                                                               1 800 955-5100
     presentar una reclamaciOn de indemnizaci6n
     en los terminos de la "Lemon Law" de Nueva              If you wish to use the program and you qualify for
     Jersey.                                                  participation, you will be required to provide the
                                                            following information:
 SI DESEA MAS INFORMACION ACERCA DE                          >
                                                             I Your name and address
 SUS DERECHOS Y RECURSOS EN LOS
 TERMINOS DE ESTA LEY,INCLUIDA LA                            >
                                                             I The Vehicle Identification Number(VIN)
 DIRECCION DEL FABRICANTE PARA                               I> The make, model and year of your vehicle
 NOTIFICACIONES DE DEFECTOS,ESTOS                           I> A description of the problem with your vehicle
 SON LOS DATOS DE CONTACTO: NEW
 JERSEY DEPARTAMENT OF LAW AND PUBLIC                       BBB AUTO LINE will also ask you for other
 SAFETY, DIVISION OF CONSUMER AFFAIRS,                      information that may help resolve your concerns,
 LEMON LAW UNIT, POST OFFICE BOX 45026,                     such as the purchase price of your vehicle, any
 NEWARK, NEW JERSEY 07101,                                  mileage at the time of purchase, the current
 TELEFONO: 1 973 504-6226.                                  mileage, and copies of repair orders.
                                                            BBB AUTO LINE will notify you when your claim
                                                            has been filed. If you decide to arbitrate, you may
                                                            attend the hearing in person or by telephone. You
                                                            may bring witnesses and give supporting
                                                            evidence. You may also submit your claim in
                                                            writing and ask for a decision on the documents
                                                            you submit, without attending a hearing. BBB

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   AUTO LINE will usually render a decision within               current mileage, the approximate date and
   40 days from the time you file your complaint.                mileage at the time any problem(s) were first
   The decision is binding on BMW NA if you                      brought to the attention of BMW NA or one of
   decide to accept it. BMW NA must comply with                  our dealers, and a statement of the relief you
   the decision within the time frame specified by               are seeking. There is no charge to the
   the arbitrator.
                                                                 customer in bringing this claim.
   Important: You must use BBB AUTO LINE
   before asserting in court any rights or remedies            5. BBB AUTO LINE staff may try to help resolve
   created by the Magnuson Moss Warranty Act,                     your dispute through mediation. If mediation
  (The Act) 15 U.S.C. Sec. 2301, et seq. You may                  is not successful, or if you do not wish to
  also be required to use BBB AUTO LINE before                    participate in mediation, claims within the
  seeking remedies under your state's Lemon Law.                  program's jurisdiction may be presented to
   If you choose to seek redress by pursuing rights               an arbitrator at an informal hearing. The
  and remedies not created by Title 1 of Magnuson                 arbitrator's decision should ordinarily be
   Moss Warranty Act, prior resort to the BBB                     issued within 40 days from the time your
   AUTO LINE is not required by any provision of                  complaint is filed; there may be a delay of
  the Act.                                                        7 days if you did not first contact BMW NA
                                                                  about your problem, or a delay of up to
   California Residents                                          30 days if the arbitrator requests an
                                                                  inspection/report by an impartial technical
   1. BMW OF NORTH AMERICA, LLC(BMW NA)
                                                                  expert or further investigation and report by
      participates in BBB AUTO LINE, a mediation/
                                                                  BBB AUTO LINE.
      arbitration program administered by the
      Council of Better Business Bureaus[3033                  6. You are required to use BBB AUTO LINE
      Wilson Boulevard, Arlington, Virginia 22201]                before asserting in court any rights or
      through local Better Business Bureaus.The                   remedies conferred by California Civil Code
      Arbitration Certification Program of the                    Section 1793.22. You are not required to use
      California Department of Consumer Affairs                   BBB AUTO LINE before pursuing rights and
      has certified BBB AUTO LINE and BMW.                        remedies under any other state or federal law.
                                                                  You are also required to use BBB AUTO LINE
   2. If you have a problem arising under a
                                                                  before exercising rights or seeking remedies
      BMW NA written warranty, we encourage you
                                                                  created by Title I of the Magnuson-Moss
      to bring it to our attention. If we are unable to
                                                                  Warranty Act, 15 U.S.C. sec. 2301 et seq. If
      resolve it, you may file a claim with BBB
                                                                  you choose to seek redress by pursuing
      AUTO LINE. Claims must be filed with BBB
                                                                  rights and remedies not created by California
      AUTO LINE within six (6) months after the
                                                                  Civil Code Section 1793.22 or Title I of the
      expiration of the warranty.
                                                                  Magnuson-Moss Warranty Act, resort to
   3. To file a claim with BBB AUTO LINE, call                    BBB AUTO LINE is not required by those
      1 800 955-5100.There is no charge for the                  statutes.
      call.
                                                               7. California Civil Code Section 1793.2(d)
   4. In order to file a claim with BBB AUTO LINE,                requires that, if BMW NA or its representative
      you will have to provide your name and                      is unable to repair a new motor vehicle to
      address, the brand name and Vehicle                         conform to the vehicle's applicable express
      Identification Number(VIN)of your vehicle,                  warranty after a reasonable number of
      and a statement of the nature of your                       attempts, BMW NA may be required to
      problem or complaint. You will also be asked                replace or repurchase the vehicle. California
      to provide: the approximate date of your                    Civil Code Section 1793.22(b)creates a
      acquisition of the vehicle, the vehicle's                   presumption that BMW NA has had a

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    reasonable number of attempts to conform                9. The following remedies may not be sought in
    the vehicle to its applicable express                      BBB AUTO LINE: punitive or multiple
    warranties if, within 18 months from delivery              damages, attorney's fees, or consequential
    to the buyer or 18,000 miles on the vehicle's              damages other than as provided in California
    odometer, whichever occurs first, one or                   Civil Code Section 1794(a)and (b).
    more of the following occurs:
                                                            10. You may reject the decision issued by a BBB
    • The same nonconformity [a failure to                      AUTO LINE arbitrator. If you reject the
      conform to the written warranty that                      decision, you will be free to pursue further
     substantially impairs the use, value or safety             legal action. The arbitrator's decision and
      of the vehicle] results in a condition that is            any findings will be admissible in a court
      likely to cause death or serious bodily injury            action.
      if the vehicle is driven AND the
      nonconformity has been subject to repair              1 1. If you accept the arbitrator's decision,
     two or more times by BMW NA or its agents                   BMW NA will be bound by the decision, and
      AND the buyer or lessee has directly                       will comply with the decision within a
      notified BMW NA of the need for the repair                 reasonable time not to exceed 30 days after
     of the nonconformity; OR                                    we receive notice of your acceptance of the
                                                                 decision.
    • The same nonconformity has been subject
     to repair 4 or more times by BMW NA or its             12. Please call BBB AUTO LINE at
     agents AND the buyer has notified BMW NA                   1 800 955-5100 for further details about the
     of the need for the repair of the                          program.
      nonconformity; OR
                                                            IDAHO Residents IMPORTANT:IF THIS
    • The vehicle is out of service by reason of            VEHICLE IS DEFECTIVE,YOU MAY BE
      repair of nonconformities by BMW NA or its            ENTITLED UNDER THE STATE'S LEMON LAW
      agents for a cumulative total of more than            TO REPLACEMENT OF IT OR A REFUND OF
     30 calendar days after delivery of the vehicle         ITS PURCHASE PRICE OR YOUR LEASE
      to the buyer.                                         PAYMENTS. HOWEVER,TO BE ENTITLED TO
 NOTICE TO BMW NA AS REQUIRED ABOVE                         REFUND OR REPLACEMENT,YOU MUST
 SHALL BE SENT TO THE FOLLOWING                             FIRST NOTIFY THE MANUFACTURER,ITS
 ADDRESS:                                                   AGENT,OR ITS AUTHORIZED DEALER OF
                                                            THE PROBLEM IN WRITING AND GIVE THEM
         BMW of North America,LLC
  Customer Relations and Services Department                AN OPPORTUNITYTO REPAIR THE VEHICLE.
                P.O. Box 1227                               YOU ALSO HAVE A RIGHT TO SUBMIT YOUR
          Westwood, NJ 07675-1227                           CASE TO THE CONSUMER ARBITRATION
               1 800831-1117                                PROGRAM WHICH THE MANUFACTURER
      customerrelations@bmwusa.com                          MUST OFFER IN THIS STATE.
  8. The following remedies may be sought in
                                                            Special Programs
     BBB AUTO LINE: repairs, reimbursement for
     money paid to repair a vehicle or other                SOMETIMES BMW OF NORTH AMERICA,
     expenses incurred as a result of a vehicle             LLC(BMW NA)OFFERS A SPECIAL
     nonconformity, repurchase or replacement of            ADJUSTMENT PROGRAM TO PAY ALL OR
     your vehicle and compensation for damages              PART OF THE COST OF CERTAIN REPAIRS
     and remedies available under BMW NA's                  BEYOND THE TERMS OF THE WARRANTY.
     written warranty or applicable law.                    CHECK WITH YOUR AUTHORIZED BMW
                                                            CENTER TO DETERMINE WHETHER ANY
                                                            ADJUSTMENT PROGRAM IS APPLICABLE
                                                            TO YOUR MOTOR VEHICLE.

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   BMW Roadside Assistance                                     Certified Pre-Owned BMWs —5 years or 6 years
                                                              (as applicable)/unlimited miles.
   The BMW Roadside Assistance Program
   reflects BMW's commitment to your                          NOTE:This protection does not affect the new
   Complete satisfaction with the BMW                         vehicle limited warranty coverage, which remains
   ownership experience.                                      at 4 years/50,000 miles, or the applicable
                                                              Certified Pre-Owned BMW time and mileage
   It's available for U.S. version BMWs in all                coverage.
   50 states, Canada, and Puerto Rico 24 hours a
   day, 365 days a year.                                      Getting Started
   It's a valuable benefit provided to you at no              For your convenience, a decal showing Roadside
   additional cost.(Subject to certain limitations and
                                                              Assistance information has been affixed on the
   exclusions noted on page 32.)
                                                              driver's side of the windshield and in the rear
   The BMW Roadside Assistance Program is not a               compartment area.
   warranty and does not affect your rights under
   the New Vehicle Limited Warranty.                          Calling For Assistance
   Services provided by a third-party business                The toll-free BMW Roadside Assistance number
   partner.                                                   (1 800 332-4269)is answered by a BMW
                                                               Roadside Assistance service representative. In
   BMW Roadside Assistance                                    order for you to receive quick and reliable
                                                              services, it is essential that you provide detailed
   Smartphone Application
                                                               and accurate information to the service
   The free BMW Roadside Assistance Smartphone                 representative.
   App dispatches fast, reliable service to your               Be prepared to give:
   BMW.For more details and to download the App
   for your iPhone@, AndroidTm or Windows                     I> Your name.
   Mobile® Smartphone, visit                                  l Your complete Vehicle Identification Number
                                                              >
   http://roadsidemobile.com/bmw                                (found on your vehicle registration, or on the
                                                                 bottom driver's side of your windshield).
   Owner's Eligibility                                        I> Model description of your vehicle.
   You are covered if your vehicle is:                        l License plate number of your vehicle.
                                                              >
   I A new BMW automobile, distributed by
   >                                                          I Vehicle location (including nearby crossroads/
                                                              >
     BMW NA,and purchased at an authorized                       intersections, highway mile markers, street
     BMW center; OR                                              numbers,landmarks, etc.).
   D A new BMW automobile, purchased under the                I Location you are calling from (including a
                                                              >
     BMW NA European Delivery Plan; OR                           telephone number where you can be reached).
   I A new, U.S. version, BMW automobile
   >                                                             If you are calling from a public phone, wait
     purchased under the Diplomatic or Military                  there for the return call. Do not leave this
     Sales programs,operated in any of the                       location without informing the Roadside
     50 states, Canada and Puerto Rico.                          Assistance service representative.
                                                              I> A description of your vehicle's problem.
  The vehicle itself is covered when driven by any               Specific and accurate information will enable
  authorized driver.                                             the Roadside Assistance service
  Protection as determined by the vehicle's original             representative to provide the proper help.
  in-service date:
                                                              Note: If you are using the free BMW Roadside
  New BMWs — Protection is provided for                       Assistance Smartphone App,the information
  4 years/unlimited miles.                                    above is not required.

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 Emergency Valet Service. Should there be a                 yourself locked out, a simple telephone call to
 need beyond BMW Roadside Assistance,                       Roadside Assistance will help you get back on
 Emergency Valet service will provide a personal            the road. A representative will help you find
 assistant who will help in every way to get you to         transportation or arrange towing service to the
 your final destination. Emergency Valet service            nearest authorized BMW center. Related towing
 will help you locate a rental car or taxi agency,          costs will be compensated up to $100.00 per
 hotel or even help procure airline reservations. In        incident. You, or the person driving your vehicle,
 the event of an emergency,this service will assist         are responsible for any expenses related to
 you in getting information out to the proper party,        replacement keys.
 whether it is business or personal. If we are
 unable to contact one of your party, the message           Towing Service
 relay service will document the information, and
 will make reasonable efforts to deliver the                In the event of a mechanical breakdown normally
 message to the message recipient.                          covered under the New Vehicle Limited Warranty,
                                                            your vehicle will be transported (at no cost)to the
 Personal Trip Routing. Leave the planning to               nearest authorized BMW center. Towing to the
 us. Simply give one of our Roadside Assistance             nearest authorized BMW center is also covered
 service representatives a call, and we will provide        in the event of an accident or collision.
 you with a detailed, easy-to-read, computerized
 trip itinerary and companion map package.                  If a breakdown occurs after normal business
 Please allow up to two weeks to process your               hours, your vehicle will be transported to a secure
 request.                                                   location and transported to the nearest
                                                            authorized BMW center on the next business
 Services                                                   day.
 From the information you provide,the BMW                   If you request that the vehicle be taken to a
 Roadside Assistance service representative will            location other than the nearest authorized BMW
 determine the type of help required.                       center, any additional expense will be your
                                                            responsibility.
 Dispatch Service
                                                            However, you may request(at no cost)to be
 A service provider will be dispatched to the site          taken to a different authorized BMW center as
 of your disabled vehicle.                                  long as it is within 50 additional miles of the
                                                            "nearest" authorized BMW center.
 On-Site Assistance                                          Towing requests for vehicles disabled because of
 On-site service for vehicle disablements,such as            casualty, fire, act of God,or violation of law
 flat tires, dead batteries, and out of fuel                (federal, state or local) are provided at the
 conditions, is provided up to a maximum of                  expense of the owner/driver.
 $100.00 per incident by BMW Roadside
 Assistance.                                                If it is necessary for you to have your vehicle
                                                            towed through your own arrangements, you
 The cost for parts and fuel, when used on-site, is         must contact BMW Roadside Assistance for
 the responsibility of the owner/driver. The New            prior authorization and instructions on claim
 Vehicle Limited Warranty does not cover any of             procedures. All claims must be submitted within
 the above on-site services.                                sixty(60)days of the disablement or occurrence,
                                                            accompanied by the original receipts. Claims
 Lock-Out                                                   received after that time period may be
                                                            dishonored and are subject to the full discretion
 Your BMW is equipped with an advariced entry               of BMW Roadside Assistance. If BMW Roadside
 system, which cannot be bypassed by traditional            Assistance is not contacted for "prior"
 locksmith methods without significant damage to            authorization, the maximum coverage for towing
 your vehicle. However, in the event that you find          is $100.00.

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   Sign-and-Drive                                            Car Rental Discounts
   Typically, if you are within the terms of your            Discounts are available from several car rental
   warranty, the services you receive under the              companies. Benefits may vary with each
   BMW Roadside Assistance program will not                  company and location, and are subject to change
   require payment. In most cases, you will simply           without notice.
   sign a receipt from the provider of services.
                                                             Simply use the following information to receive
                                                             your discount:
   Trip Interruption Benefits
                                                             Avis®:
   Trip interruption benefits are provided for               Discount Code: B769775
   mechanical breakdowns as follows:                         1 800 331-1212
   I Breakdowns that are warranty related; and
   >
                                                             Budget®:
   I Must occur in excess of 100 miles from the
   >                                                         Discount Code: T464331
     driver's primary residence; and                         1 800 527-0700
   I Repairs cannot be completed during normal
   >
                                                             Enterprise®:
     business hours on the same day of                       Discount Code: NA24109
     breakdown.                                              1 800 RENT-A-CAR
   Reimbursements will be made for meals, lodging,           Hertz®:
   car rentals, and alternate transportation to bring        Discount Code: CDP#1646338
   the driver and the BMW automobile together                1 888 204-0234
   after the vehicle has been repaired by an
   authorized BMW center. Original receipts must             Exclusions
   accompany all reimbursement requests.
   Trip interruption coverage is limited to $1,000.00        Specifically excluded from coverage are:
   per incident,for a maximum of five days per               I> Fines, taxes, or impound towing fees caused
   incident.                                                    by a violation of local or state law.
   Always contact BMW Roadside Assistance for                >
                                                             I Expenses related to extreme adverse weather
   trip interruption benefits. They will assist in              conditions including, but not limited to,floods,
   making all the necessary arrangements.                       hurricanes and tornadoes(removal from water,
                                                                snow, ice, etc.).
                                                             I Expenses for the removal of snow tires and
                                                             >
                                                                mounting or removal of snow chains.




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                                                                                        EXHIBIT A - 44
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                                                                                             EXHIBIT A - 51
